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                   UNITED STATES BANKRUPTCY COURT
                    WESTERN DISTRICT OF TENNESSEE
                           WESTERN DIVISION



In re

        AUBREY BRUCE WRING and                       Case No. 10-21899-pjd
        VIRGINIA A. WRING,                           Chapter 11
             Debtors.




           CHAPTER 11 TRUSTEE’S FIRST AMENDED PLAN OF
                        REORGANIZATION


                               December 9, 2016




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                                            ARTICLE I

                                           DEFINITIONS

        In addition to such other terms as are defined in other sections of this Plan, the following

terms (which appear in this Plan as capitalized terms) have the following meanings as used in

this Plan:

       1.01 “Administrative Claim” means a Claim for payment of an administrative

expense under §503(b) or 1114(e)(2) of the Bankruptcy Code and entitled to priority under

§507(a)(2) of the Bankruptcy Code, including (a) actual, necessary costs and expenses, incurred

after the Petition Date, of preserving the Debtor’s Estate and operating its business, including

wages, salaries or commissions for services rendered after the Petition Date, (b) Fee Claims, (c)

all fees and charges assessed against the Estate under 28 U.S.C. §1930 and (d) all Allowed

Claims that are entitled to be treated as Administrative Claims by virtue of a Final Order

entered under §546(c)(2)(A) of the Bankruptcy Code.


       1.02    “Allowed Claim and Allowed Interest” means, with reference to any Claim

or Interest: (i) a Claim against or Interest in the Debtor, proof of which, if required, was Filed on

or before the Bar Date, which is not a Contested Claim or Contested Interest, (ii) if no proof of

claim or interest was so Filed, a Claim against or Interest in the Debtor that has been or

hereafter is listed by the Debtor in their Schedules as liquidated in amount and not disputed or

contingent, or (iii) a Claim or Interest allowed hereunder or by Final Order. An Allowed Claim

or Allowed Interest does not include any Claim or Interest or portion thereof which is a

Disallowed Claim or Disallowed Interest or which has been subsequently withdrawn,

disallowed, released or waived by the holder thereof, by this Plan, or pursuant to a Final

Order. Unless otherwise specifically provided in this Plan, an Allowed Claim or Allowed

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Interest shall not include any amount for punitive damages or penalties. The Claims of each of

the Debtor against one or more of the other Debtor shall be deemed to be Allowed Claims for

all purposes.

       1.03       “Avoidance Actions” means any claim or cause of action belonging to the

Debtor and arising under the Bankruptcy Code, including but not limited to §§544, 547, 548

and 550.

           1.04   “Bankruptcy Code” means Title 11 of the United States Code, as was in effect

on the Petition Date, as amended by any amendment applicable to this Reorganization Case.

           1.05   “Bankruptcy Court” means the United States Bankruptcy Court for the Western

District of Tennessee, Western Division.

           1.06   ”Chapter 11 Trustee” means Michael P. Coury or any duly appointed successor

trustee.

           1.07   “Confirmation” means the entry of a Final Order of the Bankruptcy Court

confirming this Plan.

           1.08   “Confirmation Date” means the date on which the Bankruptcy Court enters the

Confirmation Order.

           1.09   “Confirmation Order” means the Final Order of the Bankruptcy Court

confirming this Plan.

           1.10   “Consummation” shall mean the instant upon which the first distributions of

cash or property have been made to any class of Creditors under this Plan, at which time this

Plan shall be deemed fully consummated and on which date this Plan shall be fully effective.

           1.11   Creditor” means the holder of a Claim as of the Petition Date.

           1.12   “Debtors” mean Aubrey Bruce Wring and Virginia Ann Wring.


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       1.13     “Deficiency Claim” means an Allowed Claim of a Creditor, equal to the

amount by which the aggregate Allowed Claims of such Creditor exceed the sum of (a) any set

off rights of the Creditor permitted under §553 of the Code, plus (b) the Secured Claim of such

Creditor; provided, however, that if the holder of a Secured Claim or the Class of which such

Claim is a member makes the election provided in §1111(b)(2) of the Code, there shall be no

Deficiency Claim in respect of such Claim.

        1.14    “Disputed Claim” means a claim as to which a proof of claim has been filed or

deemed filed, as to which an objection has been or may be timely filed by the Debtor, the

Reorganized Debtor, the Trustee or any other party in interest and which objection, if timely

filed, has not been withdrawn on or before any date fixed for filing such objections by this Plan

or Order of the Bankruptcy Court and has not been overruled or denied by a Final Order. Before

an objection has been or may be timely filed, for the purposes of this Plan, a claim shall be

considered a Disputed Claim to the extent that the amount of the claim specified in the proof of

claim exceeds the amount of the claim scheduled by the Debtor as other than disputed,

contingent, or unliquidated, on the Schedules of Assets and Liabilities.

        1.15    “Effective Date” means the date specified as the Effective Date in Section 8.07

of this Plan.

        1.16    “Estate” means the estate created in the Reorganization Case for the Debtor

pursuant to Section 541 of the Bankruptcy Code.

        1.17    “Final Order” means an Order as entered on the docket as to which the time to

appeal or seek review or rehearing has expired and as to which no appeal, review, re-argument or

petition for certiorari is pending, or as to which any appeal, review, re-argument or petition for




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certiorari that has been sought has been resolved by the highest court with appropriate

jurisdiction, or if pending, no stay shall have been obtained.

       1.18    “Fiscal Year” means the twelve calendar month period ending December 31 of

each year.

       1.19     “Impaired” means the treatment of an Allowed Claim or Allowed Interest

under this Plan unless, with respect to such Claim or Interest, either: (i) this Plan leaves

unaltered the legal, equitable, and contractual rights to which such Claim or Interest entitles the

holder of such Claim or Interest, or (ii) notwithstanding any contractual provision or applicable

law that entitles the holder of such Claim or Interest to demand or receive accelerated payment of

such Claim or Interest after occurrence of a default, the applicable Debtor (A) cures any default

that occurred before, on or after the commencement of the Chapter 11 Case other than default

of the kind specified in Section 365(b)(2) of the Bankruptcy Code; (B) reinstates the maturity of

such Claim or Interest as such maturity existed before such default; (C) compensates the holder

of such Claim or Interest for any damages incurred as a result of any reasonable reliance by

such holder on such contractual provision or such applicable law; and (D) does not otherwise

alter the legal, equitable or contractual rights to which such Claim or Interest entitles the holder

of such Claim or Interest.


      1.20     “Projected Disposable Income” shall mean all gross collected revenue of the

Debtor in each fiscal year commencing upon the Effective Date less all allowed administrative

expenses, reasonable operating capital, and all reasonable and necessary living expenses which

include but are not limited to real property taxes, personal property taxes, state and federal

income taxes, withholding and social security taxes, wages, sales expenses, insurance premiums

food, clothing, housing, transportation, mandatory retirement contributions, medical expenses,


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necessary capital purchases, lease payments, rents, telephone, utilities, permits, legal and

accounting fees.

          1.21   “Order” means an order or judgment of the Bankruptcy Court as entered on the

docket.

          1.22   “Person” shall have the meaning ascribed by 11 U.S.C. § 101.

          1.23   “Petition Date” means February 9, 2010.

          1.24   “Plan” means this Plan and any Amended Plan of Reorganization filed by the

Plan Proponent. If any further Amended Plan has been filed, then “Plan” means the most recent

amended plan filed with the Court.

          1.25   “Plan Proponent” means the Michael P. Coury, Chapter 11 Trustee.

          1.26   “Reorganization Case” means the chapter 11 case pending in the Bankruptcy

Court for the Debtor.

          1.27   “Reorganized Debtor” means the Debtors on and after the Effective Date.

          1.28   “Secured Claim” shall mean a Claim secured by a lien against property in which

the Debtors have an interest, or which is subject to set-off under § 553 of the Bankruptcy Code to

the extent of the value (determined in accordance with § 506(a) of the Bankruptcy Code) of the

interest of the holder of such Claim and the Debtors’ interest in such property or to the extent of

the amount subject to such set-off, as the case may be.

          1.29. “Unimpaired” means a claim that is not Impaired as contemplated in 11 U.S.C. §

1124.




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                                       ARTICLE II

              INTERPRETATION, RULES OF CONSTRUCTION, COMPUTATION OF TIME

       2.1.     Any term used in this Plan that is not defined in this Plan but that is used in the

Bankruptcy Code or the Bankruptcy Rules has the meaning assigned to that term in, and shall be

construed in accordance with the rules of construction pursuant to, the Bankruptcy Code or the

Bankruptcy Rules. Without limiting the foregoing, the rules of construction set forth in 11

U.S.C. § 102 shall apply.

       2.2.     The words “herein,” “hereof,” “hereto,” “hereunder” and others of similar import

refer to the Plan as a whole and not to any particular article, section, subsection, or clause

contained in the Plan.

       2.3.     Any reference in this Plan to a document being in a particular form means that the

document shall be in substantially such form.

       2.4.     Any reference in this Plan to an existing document means such document, as it

may have been amended, modified or supplemented from time to time.

       2.5.     Whenever from the context it is appropriate, each term stated in either the singular

or the plural shall include both the singular and the plural.

       2.6.     In computing any period of time prescribed or allowed by the Plan, the provisions

of FED. R. BANKR. P. 9006(a) shall apply.

                                       ARTICLE III

                         DESIGNATION OF NON-CLASSIFIED CLAIMS

       This Plan does not classify Claims against the Debtors having priority as specified in

Section 507(a) (2),(3) and (8) of the Bankruptcy Code, which Claims are designated as

follows:



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       3.1.    Administrative Expense Claims. Administrative expenses are costs or expenses

of administering the Debtors’ chapter 11 case which are allowed under § 507(a) (2) and § 503(b)

of the Code. Administrative expenses also include the value of any goods sold to the Debtors in

the ordinary course of business and received within 20 days before the date of the bankruptcy

petition. The Code requires that all administrative expenses be paid on the effective date of the

Plan, unless a particular claimant agrees to a different treatment.

       Allowed Administrative claims shall be paid in cash, in full on the Effective Date of the

Plan. Any administrative clams representing liability incurred in the ordinary course of business

of the Debtor may be paid in cash in the ordinary course of business. Included in this class are

the attorneys’ fees incurred by the Debtor.

       3.2.    Priority Tax Claims. Priority tax claims are unsecured income, employment,

property other taxes described by § 507(a) (8) of the Code. Unless the holder of such a §

507(a)(8) priority tax claim agrees otherwise, it must receive the present value of such claim, in

regular installments paid over a period not exceeding 5 years from the order of relief.

                                           ARTICLE IV

  DESIGNATION AND TREATMENT OF CLASSES OF CLAIMS AND INTERESTS

       Pursuant to 11 U.S.C. §§ 1123(a) (1) – (3) the Plan divides claims against and interests in

the Debtors into the following classes and treatments below:

       (i)     Unclassified Claims.

       4.01    Administrative Expense Claims. Allowed Administrative claims shall be paid in

cash, in full on the Effective Date of the Plan. Any administrative clams representing liability

incurred in the ordinary course of business of the Debtors may be paid in cash in the ordinary

course of business. Included in this class are the allowed attorneys’ fees incurred by the Debtors



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and the Chapter 11 Trustee and any professionals retained by the Chapter 11 Trustee. Any

United States Trustee Quarterly Fees under 28 U.S.C. § 1930(a)(6) due and owing or assessable

prior to confirmation shall be paid in full on the Effective Date of the Plan and any further such

fees shall be paid in accordance with 28 U.S.C. § 1930(a)(6). After confirmation, the Chapter 11

Trustee and/or the Debtors shall file with the Court and serve on the United States Trustee a

financial report for each quarter, or portion thereof, for which the case remains open in a format

prescribed by the United States Trustee and provided to the Debtors by the United States Trustee.

       (ii)      Classified Claims

       4.02      Class 1A:     Prepetition Secured Claim of Carrington Mortgage Services,

LLC (“CMS”) as Servicing Agent for Deutsche Bank National Trust Company, f/k/a

Bankers Trust Company of California, N.A., as Trustee for the Certificate Holders of

Vendee Mortgage Trust 1996-2, United States Department of Veterans Affairs, Guaranteed

Remic Pass-Through Certificates (“CMS-1A”). Consists of the unpaid balances due to CMS-

1A which are secured by duly perfected first priority deeds of trust on the real property listed as

follows:

           Claim No.    Claim Amount                          Property Address

           113          $45,035.60          1658 Dolan Drive, Memphis, TN
           119          $43,495.44          3249 Chisca Avenue, Memphis, TN
           122          $50,238.22          1435 Finley Road, Memphis, TN
           123          $47,299.41          1496 Darden Avenue, Memphis, TN
                        $24,462.28          4243 Bacon, Memphis, TN


       The foregoing claims shall be modified on the Effective Date and the outstanding loan

balance shall be restructured and paid as follows:

       1.        All claims are shall be deemed to be fully secured without respect to the value of

the underlying collateral.

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       2.      All interest rates are to be modified to 4.5%.

       3.      The principal loan balances of each loan, as of the Effective Date of the plan, will

be extended and reamortized over a 25-year period.

       4.      All other terms of the subject loans shall remain unchanged.

       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance(s), including any late charges, legal fees, arrearages or other charges asserted by

claimant. The loan balance(s) shown on the itemized statement shall be deemed to be the

outstanding loan balance(s) owed to claimant for purposes of the Plan, unless disputed by the

Chapter 11 Trustee below. Upon motion filed by a party to the Effective Date, the Court may

extend the time for filing the itemized statement upon good cause shown. In the event such time

is extended, the Chapter 11 Trustee shall commence monthly payments arising after the Effective

Date based on the outstanding balance(s) shown on the last invoice or statement received from

the claimant prior to the Effective Date.      In the event a subsequently produced itemized

statement results in a different amortized payment, the plan payments shall be adjusted to

comply with the plan.

       6.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance(s) prior to the Effective Date, or such other deadline set by the Court, the

outstanding balance(s) shown on the last invoice or statement received from the claimant prior to

the Effective Date shall be deemed to be the outstanding loan balance(s) owed to claimant for

purposes of the Plan.

       7.      The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance(s) to file a motion with the court to dispute



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the loan balance(s) asserted by claimant. Pending resolution of the dispute, the Chapter 11

Trustee shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the

mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimant.

Class 1A is impaired.

       Class 1B:        Prepetition Secured Claim of Carrington Mortgage Services, LLC

(“CMS”) as Servicing Agent for Bankers Trust Company of California, N.A., as Trustee

For Vendee Mortgage Trust 1997-1, without recourse, except as provided in a Loan Sale

Agreement dated February 1, 1997 (“CMS-1B”). Consists of the unpaid balance due to CMS-

1B which is secured by a duly perfected first priority deed of trust on the real property listed as

follows:

           Claim No.    Claim Amount                              Property Address

           152          $55,620.62          5948 Cuspidon Cove, Millington, TN
           162          $55,620.62          5948 Cuspidon Cove, Millington, TN – DUPLICATE
                        $67,474.89          4527 Green Creek, Memphis, TN


       The duplicate claim shall be disallowed and the foregoing claim shall be modified on the

Effective Date and the outstanding loan balance shall be restructured and paid as follows:

       1.        All claims are shall be deemed to be fully secured without respect to the value of

the underlying collateral.

       2.        All interest rates are to be modified to 4.5%.

       3.        The principal loan balances of each loan, as of the Effective Date of the plan, will

be extended and reamortized over a 25-year period.

       4.        All other terms of the subject loans shall remain unchanged.

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       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance(s), including any late charges, legal fees, arrearages or other charges asserted by

claimant. The loan balance(s) shown on the itemized statement shall be deemed to be the

outstanding loan balance(s) owed to claimant for purposes of the Plan, unless disputed by the

Chapter 11 Trustee below. Upon motion filed by a party prior to the Effective Date, the Court

may extend the time for filing the itemized statement upon good cause shown. In the event such

time is extended, the Chapter 11 Trustee shall commence monthly payments arising after the

Effective Date based on the outstanding balance(s) shown on the last invoice or statement

received from the claimant prior to the Effective Date. In the event a subsequently produced

itemized statement results in a different amortized payment, the plan payments shall be adjusted

to comply with the plan.

       6.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance(s) prior to the Effective Date, or such other deadline set by the Court, the

outstanding balance(s) shown on the last invoice or statement received from the claimant prior to

the Effective Date shall be deemed to be the outstanding loan balance(s) owed to claimant for

purposes of the Plan.

       7.      The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance(s) to file a motion with the court to dispute

the loan balance(s) asserted by claimant. Pending resolution of the dispute, the Chapter 11

Trustee shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the




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mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimant.

       Class 1B is impaired.

       Class 1C:       Prepetition Secured Claim of Carrington Mortgage Services, LLC

(“CMS”) as Servicing Agent for Deutsche Bank National Trust Company f/k/a Bankers

Trust Company Of California, National Association, as Trustee for Vendee Mortgage

Trust 1999-3 (“CMS-1C”). Consists of the unpaid balances due to BAC-1C which are secured

by duly perfected first priority deeds of trust on the real property listed as follows:

         Claim No.     Claim Amount                             Property Address

         115           $78,699.94          3412 Wythe Road, Memphis, TN 38134
         127           $48,466.47          5657 Ballenmoor, Memphis, TN 38141


       The foregoing claims shall be modified on the Effective Date and the outstanding loan

balance shall be restructured and paid as follows:

       1.      All claims are shall be deemed to be fully secured without respect to the value of

the underlying collateral.

       2.      All interest rates are to be modified to 4.5%.

       3.      The principal loan balances of each loan, as of the Effective Date of the plan, will

be extended and reamortized over a 25-year period.

       4.      All other terms of the subject loans shall remain unchanged.

       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance(s), including any late charges, legal fees, arrearages or other charges asserted by

claimant. The loan balance(s) shown on the itemized statement shall be deemed to be the



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outstanding loan balance(s) owed to claimant for purposes of the Plan, unless disputed by the

Chapter 11 Trustee below. Upon motion filed by a party prior to the Effective Date, the Court

may extend the time for filing the itemized statement upon good cause shown. In the event such

time is extended, the Chapter 11 Trustee shall commence monthly payments arising after the

Effective Date based on the outstanding balance(s) shown on the last invoice or statement

received from the claimant prior to the Effective Date. In the event a subsequently produced

itemized statement results in a different amortized payment, the plan payments shall be adjusted

to comply with the plan.

       6.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance(s) prior to the Effective Date, or such other deadline set by the Court, the

outstanding balance(s) shown on the last invoice or statement received from the claimant prior to

the Effective Date shall be deemed to be the outstanding loan balance(s) owed to claimant for

purposes of the Plan.

       7.      The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance(s) to file a motion with the court to dispute

the loan balance(s) asserted by claimant. Pending resolution of the dispute, the Chapter 11

Trustee shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the

mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimant.

       Class 1C is impaired.

       Class 1D:        Prepetition Secured Claim of Carrington Mortgage Services, LLC

(“CMS”) as Servicing Agent for Deutsche Bank National Trust Company f/k/a Bankers



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Trust Company of California, National Association, for the Certificate Holders Vendee

Mortgage Trust 2000-1 (“CMS-1D”). Consists of the unpaid balances due to CMS-1D which

are secured by duly perfected first priority deeds of trust on the real property listed as follows:

         Claim No.     Claim Amount                             Property Address

         125           $99,246.51          8091 Rankin Branch Rd., Millington, TN 38053
         126           $145,154.13         8766 Julip Cove, Cordova, TN 3818
         128           $51,913.65          4413 Ernie Drive, Memphis, TN 38116


       The foregoing claims shall be modified on the Effective Date and the outstanding loan

balance shall be restructured and paid as follows:

       1.      All claims are shall be deemed to be fully secured without respect to the value of

the underlying collateral.

       2.      All interest rates are to be modified to 4.5%.

       3.      The principal loan balances of each loan, as of the Effective Date of the plan, will

be extended and reamortized over a 25-year period.

       4.      All other terms of the subject loans shall remain unchanged.

       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance(s), including any late charges, legal fees, arrearages or other charges asserted by

claimant. The loan balance(s) shown on the itemized statement shall be deemed to be the

outstanding loan balance(s) owed to claimant for purposes of the Plan, unless disputed by the

Chapter 11 Trustee below. Upon motion filed by a party prior to the Effective Date, the Court

may extend the time for filing the itemized statement upon good cause shown. In the event such

time is extended, the Chapter 11 Trustee shall commence monthly payments arising after the

Effective Date based on the outstanding balance(s) shown on the last invoice or statement

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received from the claimant prior to the Effective Date. In the event a subsequently produced

itemized statement results in a different amortized payment, the plan payments shall be adjusted

to comply with the plan.

       6.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance(s) prior to the Effective Date, or such other deadline set by the Court, the

outstanding balance(s) shown on the last invoice or statement received from the claimant prior to

the Effective Date shall be deemed to be the outstanding loan balance(s) owed to claimant for

purposes of the Plan.

       7.      The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance(s) to file a motion with the court to dispute

the loan balance(s) asserted by claimant. Pending resolution of the dispute, the Chapter 11

Trustee shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the

mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimants.

       Class 1D is impaired.

       Class 1E:        Prepetition Secured Claim of Carrington Mortgage Services, LLC

(“CMS”) as Servicing Agent for Deutsche Bank National Trust Company, f/k/a Bankers

Trust Company of California, National Association as Trustee for Vendee Mortgage Trust

1999-1, United States Department Of Veterans Affairs, Guaranteed Remic Pass-Through

Certificates (“CMS-1E”). Consists of the unpaid balances due to CMS-1E which are secured

by the duly perfected first priority deed of trust on the real property listed as follows:

         Claim No.      Claim Amount                            Property Address

         129            $57,279.90          59 Hidden Valley, Jackson, TN 38035

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        130            $76,267.18          2030 Waskom Drive, Memphis, TN


       Pursuant to the Court’s order dated June 30, 2015, the foregoing properties have been

conveyed to the Creditor or its assignee in full satisfaction of the foregoing claim.

       Class 1E is unimpaired.

       Class 1F:       Prepetition Secured Claim of Carrington Mortgage Services, LLC

(“CMS”) as Servicing Agent for Deutsche Bank National Trust Company, on Behalf of

Vendee Mortgage Trust 2008-1, United States Department Of Veterans Affairs,

Guaranteed Remic Pass-Through Certificates (“CMS-1F”). Consists of the unpaid balances

due to CMS-1F which are secured by duly perfected first priority deeds of trust on the real

property listed as follows:

        Claim No.      Claim Amount                            Property Address

        137            $74,127.37          7329 Ashley Oaks Dr., Memphis, TN 38125
        138            $114,529.13         5604 Autumn Valley Drive, Bartlett, TN 38135
        153            $45,960.37          2068 Lee Cove, Memphis, TN
        155            $85,999.69          6980 Brady Hill Drive, Cordova, TN
        156            $36,905.36          3053 Mountain Terrace Road, Memphis, TN
        157            $79,981.78          6331 Bent Oak, Memphis, TN
        159            $79,671.52          4625 Shaker Cove, Memphis, TN 38141
        161            $107,898.19         92 Sterling Farm Drive, Atoka, TN 38004
        165            $60,656.69          4851 Dianne Drive, Memphis, TN
        167            $66,818.93          4467 Sunny Slope Drive, Memphis, TN
        171            $56,908.32          3334 Gaylord Lane, Memphis, TN
        175            $94,327.59          2851 Emerald Street, Memphis, TN
        180            $54,857.67          3654 Elm Park Road, Memphis, TN
        182            $81,084.26          5901 Foxdale Road, Memphis, TN


       The foregoing claims shall be modified on the Effective Date and the outstanding loan

balance shall be restructured and paid as follows:




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       1.      All claims are shall be deemed to be fully secured without respect to the value of

the underlying collateral.

       2.      All interest rates are to be modified to 4.5%.

       3.      The principal loan balances of each loan, as of the Effective Date of the plan, will

be extended and reamortized over a 25-year period.

       4.      All other terms of the subject loans shall remain unchanged.

       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance(s), including any late charges, legal fees, arrearages or other charges asserted by

claimant. The loan balance(s) shown on the itemized statement shall be deemed to be the

outstanding loan balance(s) owed to claimant for purposes of the Plan, unless disputed by the

Chapter 11 Trustee below. Upon motion filed by a party prior to the Effective Date, the Court

may extend the time for filing the itemized statement upon good cause shown. In the event such

time is extended, the Chapter 11 Trustee shall commence monthly payments arising after the

Effective Date based on the outstanding balance(s) shown on the last invoice or statement

received from the claimant prior to the Effective Date. In the event a subsequently produced

itemized statement results in a different amortized payment, the plan payments shall be adjusted

to comply with the plan.

       6.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance(s) prior to the Effective Date, or such other deadline set by the Court, the

outstanding balance(s) shown on the last invoice or statement received from the claimant prior to

the Effective Date shall be deemed to be the outstanding loan balance(s) owed to claimant for

purposes of the Plan.



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        7.      The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance(s) to file a motion with the court to dispute

the loan balance asserted by claimant. Pending resolution of the dispute, the Chapter 11 Trustee

shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the

mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimant.

        Class 1F is impaired.

        Class 1G:       Prepetition Secured Claim of Carrington Mortgage Services, LLC

(“CMS”) as Servicing Agent for Deutsche Bank National Trust Company, f/k/a Bankers

Trust Company Of California, N.A., as Trustee for Vendee Mortgage Trust 1999-2, United

States Department of Veterans Affairs, Guaranteed Remic Pass-Through Certificates

(“CMS-1G”). Consists of the unpaid balance due to CMS-1G which is secured by a duly

perfected first priority deed of trust on the real property listed as follows:

         Claim No.      Claim Amount                             Property Address

         169            $36,302.92          3398 Riney Street, Memphis, TN 38127


        The foregoing claim shall be modified on the Effective Date and the outstanding loan

balance shall be restructured and paid as follows:

        1.      The claim are shall be deemed to be fully secured without respect to the value of

the underlying collateral.

        2.      All interest rates are to be modified to 4.5%.

        3.      The principal loan balances of each loan, as of the Effective Date of the plan, will

be extended and reamortized over a 25-year period.


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       4.      All other terms of the subject loans shall remain unchanged.

       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance(s), including any late charges, legal fees, arrearages or other charges asserted by

claimant. The loan balance(s) shown on the itemized statement shall be deemed to be the

outstanding loan balance(s) owed to claimant for purposes of the Plan, unless disputed by the

Chapter 11 Trustee below. Upon motion filed by a party prior to the Effective Date, the Court

may extend the time for filing the itemized statement upon good cause shown. In the event such

time is extended, the Chapter 11 Trustee shall commence monthly payments arising after the

Effective Date based on the outstanding balance(s) shown on the last invoice or statement

received from the claimant prior to the Effective Date. In the event a subsequently produced

itemized statement results in a different amortized payment, the plan payments shall be adjusted

to comply with the plan.

       6.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance(s) prior to the Effective Date, or such other deadline set by the Court, the

outstanding balance(s) shown on the last invoice or statement received from the claimant prior to

the Effective Date shall be deemed to be the outstanding loan balance(s) owed to claimant for

purposes of the Plan.

       7.      The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance(s) to file a motion with the court to dispute

the loan balance asserted by claimant. Pending resolution of the dispute, the Chapter 11 Trustee

shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the



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mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimant.

        Class 1G is impaired.

        Class 1H:       Prepetition Secured Claim of Carrington Mortgage Services, LLC

(“CMS”) as Servicing Agent for Deutsche Bank National Trust Company f/k/a Bankers

Trust Company of California, National Association for Vendee Mortgage Trust 2003-2

(“CMS-1H”). Consists of the unpaid balances due to CMS-1H which are secured by duly

perfected first priority deeds of trust on the real property listed as follows:

         Claim No.      Claim Amount                             Property Address

         160            $110,820.42         4478 Garrison Avenue, Memphis, TN
         166            $107,490.46         7326 English Cove, Memphis, TN
         178            $84,044.73          2594 Wagon Wheel Cove, Memphis, TN
                        $99,108.09          4098 Worden Cove, Memphis, TN


        The foregoing claims shall be modified on the Effective Date and the outstanding loan

balance shall be restructured and paid as follows:

        1.      All claims are shall be deemed to be fully secured without respect to the value of

the underlying collateral.

        2.      All interest rates are to be modified to 4.5%.

        3.      The principal loan balances of each loan, as of the Effective Date of the plan, will

be extended and reamortized over a 25-year period.

        4.      All other terms of the subject loans shall remain unchanged.

        5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance(s), including any late charges, legal fees, arrearages or other charges asserted by


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claimant. The loan balance(s) shown on the itemized statement shall be deemed to be the

outstanding loan balance(s) owed to claimant for purposes of the Plan, unless disputed by the

Chapter 11 Trustee below. Upon motion filed by a party prior to the Effective Date, the Court

may extend the time for filing the itemized statement upon good cause shown. In the event such

time is extended, the Chapter 11 Trustee shall commence monthly payments arising after the

Effective Date based on the outstanding balance(s) shown on the last invoice or statement

received from the claimant prior to the Effective Date. In the event a subsequently produced

itemized statement results in a different amortized payment, the plan payments shall be adjusted

to comply with the plan.

       6.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance(s) prior to the Effective Date, or such other deadline set by the Court, the

outstanding balance(s) shown on the last invoice or statement received from the claimant prior to

the Effective Date shall be deemed to be the outstanding loan balance(s) owed to claimant for

purposes of the Plan.

       7.      The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance(s) to file a motion with the court to dispute

the loan balance(s) asserted by claimant. Pending resolution of the dispute, the Chapter 11

Trustee shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the

mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimant.

       Class 1H is impaired.




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       Class 1I:        Prepetition Secured Claim of Carrington Mortgage Services, LLC

(“CMS”) as Servicing Agent for Deutsche Bank National Trust Company, as Trustee For

Vendee Mortgage Trust 2003-1, United States Department of Veterans Affairs, Guaranteed

Remic Pass-Through Certificates (“CMS-1I”). Consists of the unpaid balance dues to CMS-

1I which are secured by duly perfected first priority deeds of trust on the real property listed as

follows:

           Claim No.    Claim Amount                              Property Address

           172          $131,849.63         4700 Bethany Drive, Memphis, TN
           173          $87,687.93          6640 Cindy Lynn Lane, Memphis, TN


       The foregoing claims shall be modified on the Effective Date and the outstanding loan

balance shall be restructured and paid as follows:

       1.        All claims are shall be deemed to be fully secured without respect to the value of

the underlying collateral.

       2.        All interest rates are to be modified to 4.5%.

       3.        The principal loan balances of each loan, as of the Effective Date of the plan, will

be extended and reamortized over a 25-year period.

       4.        All other terms of the subject loans shall remain unchanged.

       5.        Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance(s), including any late charges, legal fees, arrearages or other charges asserted by

claimant. The loan balance(s) shown on the itemized statement shall be deemed to be the

outstanding loan balance(s) owed to claimant for purposes of the Plan, unless disputed by the

Chapter 11 Trustee below. Upon motion filed by a party prior to the Effective Date, the Court



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may extend the time for filing the itemized statement upon good cause shown. In the event such

time is extended, the Chapter 11 Trustee shall commence monthly payments arising after the

Effective Date based on the outstanding balance(s) shown on the last invoice or statement

received from the claimant prior to the Effective Date. In the event a subsequently produced

itemized statement results in a different amortized payment, the plan payments shall be adjusted

to comply with the plan.

       6.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance(s) prior to the Effective Date, or such other deadline set by the Court, the

outstanding balance(s) shown on the last invoice or statement received from the claimant prior to

the Effective Date shall be deemed to be the outstanding loan balance(s) owed to claimant for

purposes of the Plan.

       7.      The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance(s) to file a motion with the court to dispute

the loan balance(s) asserted by claimant. Pending resolution of the dispute, the Chapter 11

Trustee shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the

mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimant.

       Class 1I is impaired.

       Class 1J:        Prepetition Secured Claim of Carrington Mortgage Services, LLC

(“CMS”) as Servicing Agent for Deutsche Bank National Trust Company, f/k/a Bankers

Trust Company Of California, N.A., as Trustee For Vendee Mortgage Trust 1998-1, United

States Department of Veterans Affairs, Guaranteed Remic Pass-Through Certificate



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(“CMS-1J”).       Consists of the unpaid balance due to CMS-1J which is secured by a duly

perfected first priority deed of trust on the real property listed as follows:

         Claim No.      Claim Amount                             Property Address

         176            $60,648.40          7320 Hollorn Lane, Memphis, TN


        The foregoing claim shall be modified on the Effective Date and the outstanding loan

balance shall be restructured and paid as follows:

        1.      All claims are shall be deemed to be fully secured without respect to the value of

the underlying collateral.

        2.      All interest rates are to be modified to 4.5%.

        3.      The principal loan balance of the loan, as of the Effective Date of the plan, will be

extended and reamortized over a 25-year period.

        4.      All other terms of the subject loans shall remain unchanged.

        5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance, including any late charges, legal fees, arrearages or other charges asserted by claimant.

The loan balance shown on the itemized statement shall be deemed to be the outstanding loan

balance owed to claimant for purposes of the Plan, unless disputed by the Chapter 11 Trustee

below. Upon motion filed by a party prior to the Effective Date, the Court may extend the time

for filing the itemized statement upon good cause shown. In the event such time is extended, the

Chapter 11 Trustee shall commence monthly payments arising after the Effective Date based on

the outstanding balance(s) shown on the last invoice or statement received from the claimant

prior to the Effective Date. In the event a subsequently produced itemized statement results in a

different amortized payment, the plan payments shall be adjusted to comply with the plan.


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        6.     In the event claimant fails to provide an itemized statement of the outstanding

loan balance prior to the Effective Date, or such other deadline set by the Court, the outstanding

balance shown on the last invoice or statement received from the claimant prior to the Effective

Date shall be deemed to be the outstanding loan balance owed to claimant for purposes of the

Plan.

        7.     The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance to file a motion with the court to dispute the

loan balance asserted by claimant. Pending resolution of the dispute, the Chapter 11 Trustee

shall make Plan payments based upon the balance reflected on the claimant’s disputed itemized

statement. In the event the Chapter 11 Trustee is determined to have overpaid the mortgage

balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may deduct the

overpayment from future payments owed to claimant.

        Class J is impaired.

        Class 1K:      Prepetition Secured Claim of Carrington Mortgage Services, LLC

(“CMS”) as Servicing Agent for Deutsche Bank National Trust Company, as Trustee for

the Certificate Holders of Vendee Mortgage Trust 1995-1, United States Department Of

Veterans Affairs, Guaranteed Remic Pass-Through Certificate (“CMS-1K”).                 Consists of

the unpaid balance due to CMS-1K which is secured by the duly perfected first priority deed of

trust on the real property listed as follows:

         Claim No.     Claim Amount                            Property Address

         181           $18,832.77           3043 Simmons Road, Atoka, TN


        Pursuant to the Court’s order dated June 30, 2015, the foregoing properties have been

conveyed to the Creditor or its assignee in full satisfaction of the foregoing claim.


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       Class 1K is unimpaired.

       Class 1L:       Prepetition Secured Claim of Carrington Mortgage Services, LLC

(“CMS”) as Servicing Agent for Deutsche Bank National Trust Company, f/k/a Bankers

Trust Company Of California, National Association (“CMS-1L”).                 Consists of the unpaid

balances due to CMS-1L which are secured by duly perfected first priority deeds of trust on the

real property listed as follows:

         Claim No.     Claim Amount                             Property Address

         121           $67,902.55         1624 Finley Road, Memphis, TN
         124           $140,681.24        4981 Grand Pines Drive, Memphis, TN
         131           $51,649.52         1587 Oakwood Drive, Memphis, TN 38119
         132           $21,957.51         3516 Pryor Street, Memphis, TN 38127
         164           $76,291.64         6849 Tawny Cove, Memphis, TN 38115
         174           $51,608.32         4286 Bennettswood Drive, Millington, TN
         183           $49,076.05         1882 Janis Drive, Memphis, TN


       The foregoing claims, other than claim no. 183, shall be modified on the Effective Date

and the outstanding loan balance shall be restructured and paid as follows:

       1.      All claims are shall be deemed to be fully secured without respect to the value of

the underlying collateral.

       2.      All interest rates are to be modified to 4.5%.

       3.      The principal loan balances of each loan, as of the Effective Date of the plan, will

be extended and reamortized over a 25-year period.

       4.      All other terms of the subject loans shall remain unchanged.

       5.      Pursuant to the Court’s order dated June 30, 2015, the property located 1882 Janis

Drive has been conveyed to the creditor or its assignee in full satisfaction of the foregoing Claim

No. 183.



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       6.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance(s), including any late charges, legal fees, arrearages or other charges asserted by

claimant. The loan balance(s) shown on the itemized statement shall be deemed to be the

outstanding loan balance(s) owed to claimant for purposes of the Plan, unless disputed by the

Chapter 11 Trustee below. Upon motion filed by a party prior to the Effective Date, the Court

may extend the time for filing the itemized statement upon good cause shown. In the event such

time is extended, the Chapter 11 Trustee shall commence monthly payments arising after the

Effective Date based on the outstanding balance(s) shown on the last invoice or statement

received from the claimant prior to the Effective Date. In the event a subsequently produced

itemized statement results in a different amortized payment, the plan payments shall be adjusted

to comply with the plan.

       7.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance(s) prior to the Effective Date, or such other deadline set by the Court, the

outstanding balance(s) shown on the last invoice or statement received from the claimant prior to

the Effective Date shall be deemed to be the outstanding loan balance(s) owed to claimant for

purposes of the Plan.

       8.      The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance(s) to file a motion with the court to dispute

the loan balance(s) asserted by claimant. Pending resolution of the dispute, the Chapter 11

Trustee shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the




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mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimant.

   Class 1L is impaired.

       Class 1M:         Prepetition Secured Claim of Carrington Mortgage Services, LLC

(“CMS”) as Servicer for Deutsche Bank National Trust Company, f/k/a Bankers Trust

Company of California, National Association, as Trustee, for the Holders of the Vendee

Mortgage Trust 1997-2 (“CMS-1M”). Consists of the unpaid balance due to CMS-1M which

is secured by a duly perfected first priority deed of trust on the real property listed as follows:

         Claim No.       Claim Amount                            Property Address




                         $45,305.99          5669 Jardin Place




       The foregoing claim shall be modified on the Effective Date and the outstanding loan

balance shall be restructured and paid as follows:

       1.      The claim shall be deemed to be fully secured without respect to the value of the

underlying collateral.

       2.      The interest rate shall be modified to 4.5%.

       3.      The principal loan balance of the loan, as of the Effective Date of the plan, will be

extended and reamortized over a 25-year period.

       4.      All other terms of the subject loans shall remain unchanged.


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        5.     Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance, including any late charges, legal fees, arrearages or other charges asserted by claimant.

The loan balance shown on the itemized statement shall be deemed to be the outstanding loan

balance owed to claimant for purposes of the Plan, unless disputed by the Chapter 11 Trustee

below. Upon motion filed by a party prior to the Effective Date, the Court may extend the time

for filing the itemized statement upon good cause shown. In the event such time is extended, the

Chapter 11 Trustee shall commence monthly payments arising after the Effective Date based on

the outstanding balance(s) shown on the last invoice or statement received from the claimant

prior to the Effective Date. In the event a subsequently produced itemized statement results in a

different amortized payment, the plan payments shall be adjusted to comply with the plan.

        6.     In the event claimant fails to provide an itemized statement of the outstanding

loan balance prior to the Effective Date, or such other deadline set by the Court, the outstanding

balance shown on the last invoice or statement received from the claimant prior to the Effective

Date shall be deemed to be the outstanding loan balance owed to claimant for purposes of the

Plan.

        7.     The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance to file a motion with the court to dispute the

loan balance asserted by claimant. Pending resolution of the dispute, the Chapter 11 Trustee

shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the

mortgage balance on claimant’s disputed itemized statement, the Chapter 11 Trustee may deduct

the overpayment from future payments owed to claimant.



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       Class IM is impaired.

       Class 1N:       Prepetition Secured Claim of the Secretary of Veterans Affairs of

Washington, D.C., c/o Residential Credit Solutions, Inc. (“VA”).             Consists of the unpaid

balances due to the VA which are secured by duly perfected first priority deeds of trust on the

real property listed as follows:

         Claim No.     Claim Amount                             Property Address

         135           $52,456.48          4311 Overton Crossing, Memphis, TN
         179           $65,233.49          7222 Rose Trail Drive, Memphis, TN


       The foregoing claims shall be modified on the Effective Date and the outstanding loan

balance shall be restructured and paid as follows:

       1.      All claims are shall be deemed to be fully secured without respect to the value of

the underlying collateral.

       2.      All interest rates are to be modified to 4.5%.

       3.      The principal loan balances of each loan, as of the Effective Date of the plan, will

be extended and reamortized over a 25-year period.

       4.      All other terms of the subject loans shall remain unchanged.

       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance(s), including any late charges, legal fees, arrearages or other charges asserted by

claimant. The loan balance(s) shown on the itemized statement shall be deemed to be the

outstanding loan balance(s) owed to claimant for purposes of the Plan, unless disputed by the

Chapter 11 Trustee below. Upon motion filed by a party prior to the Effective Date, the Court

may extend the time for filing the itemized statement upon good cause shown. In the event such



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time is extended, the Chapter 11 Trustee shall commence monthly payments arising after the

Effective Date based on the outstanding balance(s) shown on the last invoice or statement

received from the claimant prior to the Effective Date. In the event a subsequently produced

itemized statement results in a different amortized payment, the plan payments shall be adjusted

to comply with the plan.

       6.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance(s) prior to the Effective Date, or such other deadline set by the Court, the

outstanding balance(s) shown on the last invoice or statement received from the claimant prior to

the Effective Date shall be deemed to be the outstanding loan balance(s) owed to claimant for

purposes of the Plan.

       7.      The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance(s) to file a motion with the court to dispute

the loan balance(s) asserted by claimant. Pending resolution of the dispute, the Chapter 11

Trustee shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the

mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimant.

       Class 1N is impaired.

       Class 1O:        Prepetition Secured Claim of Carrington Mortgage Services, LLC

(“CMS”) as servicer for Deutche Bank National Trust Company, f/k/a Bankers Trust as

trustee for Holders of the Vendee Mortgage Trust 2002-1. Consists of the unpaid balance due

to CMS-1O which is secured by a duly perfected first priority deed of trust on the real property

listed as follows:



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         Claim No.        Claim Amount                      Property Address
                         $59,373.03         4742 Mallard Ridge, Memphis, TN


       The foregoing claim shall be modified on the Effective Date and the outstanding loan

balance shall be restricted and paid as follows:

       1.      The claim shall be deemed to be fully secured without respect to the value of the

underlying collateral.

       2.      The interest rate shall be modified to 4.5%.

       3.      The principal loan balance of the loan, as of the Effective Date of the plan, will be

extended and reamortized over a 25 year period.

       4.      All other terms of the subject loans shall remain unchanged.

       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance, including any late charges, legal fees, arrearages or other charges asserted by claimant.

The loan balance shown on the itemized statement shall be deemed to be the outstanding loan

balance owed to claimant for purposes of the Plan, unless disputed by the Chapter 11 Trustee

below. Upon motion filed by a party prior to the Effective Date, the Court may extend the time

for filing the itemized statement upon good cause shown. In the event such time is extended, the

Chapter 11 Trustee shall commence monthly payments arising after the Effective Date based on

the outstanding balance(s) shown on the last invoice or statement received from the claimant

prior to the Effective Date. In the event a subsequently produced itemized statement results in a

different amortized payment, the plan payments shall be adjusted to comply with the plan.

       6.      In the event claimant fails to provide the itemized statement of the outstanding

loan balance prior to the Effective Date, or such other deadline set by the Court, the outstanding


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balance shown on the last invoice or statement received from the claimant prior to the Effective

Date shall be deemed to be the outstanding loan balance owed to claimant for purposes of the

Plan.

        7.      The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance to file a motion with the court to dispute the

loan balance asserted by claimant. Pending resolution of the dispute, the Chapter 11 Trustee

shall make Plan payments based upon the balance reflected on the claimant’s disputed itemized

statement. In the event the Chapter 11 Trustee is determined to have overpaid the mortgage

balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may deduct the

overpayment from future payments owed to claimant.

        Class 1O is impaired.

        Class 2A:        Prepetition Secured Claim of Carrington Mortgage Services, LLC

(“CMS”) as servicer for Bank of America, N.A. (“Bank of America”).                Consists of the

unpaid balance due to Bank of America which is secured by a duly perfected first priority deed

of trust on the real property listed as follows:

         Claim No.       Claim Amount                          Property Address

         192             $125,323.16        7475 Germanshire Lane, Memphis, TN 38125


        The foregoing claim shall be modified on the Effective Date and the outstanding loan

balance shall be restructured and paid as follows:

        1.      The claim shall be deemed to be fully secured without respect to the value of the

underlying collateral.

        2.      The interest rate shall be modified to 4.5%.




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       3.      The principal loan balance of the loan, as of the Effective Date of the plan, will be

extended and reamortized over a 25-year period.

       4.      All other terms of the subject loans shall remain unchanged.

       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance(s), including any late charges, legal fees, arrearages or other charges asserted by

claimant. The loan balance(s) shown on the itemized statement shall be deemed to be the

outstanding loan balance(s) owed to claimant for purposes of the Plan, unless disputed by the

Chapter 11 Trustee below. Upon motion filed by a party prior to the Effective Date, the Court

may extend the time for filing the itemized statement upon good cause shown. In the event such

time is extended, the Chapter 11 Trustee shall commence monthly payments arising after the

Effective Date based on the outstanding balance(s) shown on the last invoice or statement

received from the claimant prior to the Effective Date. In the event a subsequently produced

itemized statement results in a different amortized payment, the plan payments shall be adjusted

to comply with the plan.

       6.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance(s) prior to the Effective Date, or such other deadline set by the Court, the

outstanding balance(s) shown on the last invoice or statement received from the claimant prior to

the Effective Date shall be deemed to be the outstanding loan balance(s) owed to claimant for

purposes of the Plan.

       7.      The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance(s) to file a motion with the court to dispute

the loan balance(s) asserted by claimant. Pending resolution of the dispute, the Chapter 11



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Trustee shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the

mortgage balance on claimant’s disputed itemized statement, the Chapter 11 Trustee may deduct

the overpayment from future payments owed to claimant.

       Class 2A is impaired.

       Class 2B:         Prepetition Secured Claim of Carrington Mortgage Services, LLC

(“CMS”) as servicer for Deutsche Bank National Trust Company f/k/a Bankers Trust

Company of California, National Association As Trustee For The Holders Of The Vendee

Mortgage Trust 2003-2 (“Bank of America”). Consists of the unpaid balances due to Bank

of America which is secured by a duly perfected first priority deed of trust on the real property

listed as follows:

         Claim No.       Claim Amount                          Property Address

         193             $78,629.16          4093 Oak Bend Drive, Memphis, TN 38115


       The foregoing claim shall be modified on the Effective Date and the outstanding loan

balance shall be restructured and paid as follows:

       1.      The claim shall be deemed to be fully secured without respect to the value of the

underlying collateral.

       2.      The interest rate shall be modified to 4.5%.

       3.      The principal loan balance of the loan, as of the Effective Date of the plan, will be

extended and reamortized over a 25-year period.

       4.      All other terms of the subject loan shall remain unchanged.

       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan


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balance, including any late charges, legal fees, arrearages or other charges asserted by claimant.

The loan balance shown on the itemized statement shall be deemed to be the outstanding loan

balance owed to claimant for purposes of the Plan, unless disputed by the Chapter 11 Trustee

below. Upon motion filed by a party prior to the Effective Date, the Court may extend the time

for filing the itemized statement upon good cause shown. In the event such time is extended, the

Chapter 11 Trustee shall commence monthly payments arising after the Effective Date based on

the outstanding balance(s) shown on the last invoice or statement received from the claimant

prior to the Effective Date. In the event a subsequently produced itemized statement results in a

different amortized payment, the plan payments shall be adjusted to comply with the plan.

        6.     In the event claimant fails to provide an itemized statement of the outstanding

loan balance prior to the Effective Date, or such other deadline set by the Court, the outstanding

balance shown on the last invoice or statement received from the claimant prior to the Effective

Date shall be deemed to be the outstanding loan balance owed to claimant for purposes of the

Plan.

        7.     The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance to file a motion with the court to dispute the

loan balance asserted by claimant. Pending resolution of the dispute, the Chapter 11 Trustee

shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the

mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimant.

        Class 2B is impaired.




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       Class 2C:         Prepetition Secured Claim of Carrington Mortgage Services, LLC

(“CMS”) as servicer for Deutsche Bank National Trust Company as Trustee for the

Certificate Holders of Vendee Mortgage Trust 2002-2 (“CMS”).                   Consists of the unpaid

balance due to Bank of America on the following claim which is secured by a duly perfected first

priority deeds of trust on the real property listed as follows:

         Claim No.       Claim Amount                             Property Address

         194             $71,862.59          4552 Country Brook Drive, Memphis, TN 38151


       The foregoing claim shall be modified on the Effective Date and the outstanding loan

balance shall be restructured and paid as follows:

       1.      The claim shall be deemed to be fully secured without respect to the value of the

underlying collateral.

       2.      The interest rate shall be modified to 4.5%.

       3.      The principal loan balance of the loan, as of the Effective Date of the plan, will be

extended and reamortized over a 25-year period.

       4.      All other terms of the subject loan shall remain unchanged.

       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance, including any late charges, legal fees, arrearages or other charges asserted by claimant.

The loan balance shown on the itemized statement shall be deemed to be the outstanding loan

balance owed to claimant for purposes of the Plan, unless disputed by the Chapter 11 Trustee

below. Upon motion filed by a party prior to the Effective Date, the Court may extend the time

for filing the itemized statement upon good cause shown. In the event such time is extended, the

Chapter 11 Trustee shall commence monthly payments arising after the Effective Date based on


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the outstanding balance(s) shown on the last invoice or statement received from the claimant

prior to the Effective Date. In the event a subsequently produced itemized statement results in a

different amortized payment, the plan payments shall be adjusted to comply with the plan.

        6.     In the event claimant fails to provide an itemized statement of the outstanding

loan balance prior to the Effective Date, or such other deadline set by the Court, the outstanding

balance shown on the last invoice or statement received from the claimant prior to the Effective

Date shall be deemed to be the outstanding loan balance owed to claimant for purposes of the

Plan.

        7.     The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance to file a motion with the court to dispute the

loan balance asserted by claimant. Pending resolution of the dispute, the Chapter 11 Trustee

shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the

mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimant.

        Class 2C is impaired.

        Class 2D:      Prepetition Secured Claim of Carrington Mortgage Services, LLC as

servicer for Deutsche Bank National Trust Company as Trustee for the Holders of Vendee

Mortgage Trust 2008-1 (“CMS”). Consists of the unpaid balance due to Bank of America on

the following claims which are secured by a duly perfected first priority deeds of trust on the real

property listed as follows:

         Claim No.     Claim Amount                           Property Address

         197           $189,229.03        1763 Turtle Hill Drive, Cordova, TN 38016
         200           $82,304.56         3798 So. Germantown Road, Memphis, TN 38125


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                         $101,819.18      4341 Spring Oak Cove, Memphis, TN
                         $50,681.35       4256 Plum Valley Cove, Memphis, TN
                         $66,571.22       3800 Clarion Drive, Memphis, TN
                         $55,643.25       3241 Brevard, Memphis, TN
                         $62,091.12       6756 Boylston, Memphis, TN
                         $72,405.83       5578 Bayshore Drive, Memphis, TN
                         $141,901.10      5280 Summer Wind, Memphis, TN
                         $66,700.08       4315 Appian Drive, Memphis, TN
                         $38,645.56       2160 Fortune Avenue, Memphis, TN
                         $43,748.92       270 Gracewood, Memphis, TN
                         $38,807.45       5703 Winter Tree Drive, Memphis, TN
                         $75,031.43       6848 Starkenburg Lane, Memphis, TN
                         $59,375.70       4944 Chamberlain Lane, Memphis, TN


       The foregoing claims shall be modified on the Effective Date and the outstanding loan

balances shall be restructured and paid as follows:

       1.      The claims shall be deemed to be fully secured without respect to the value of the

underlying collateral.

       2.      The interest rates shall be modified to 4.5%.

       3.      The principal loan balances of each loan, as of the Effective Date of the plan, will

be extended and reamortized over a 25-year period.

       4.      All other terms of the subject loans shall remain unchanged.

       5.      Pursuant to the Court’s order dated June 30, 2015, the property located at 4341

Spring Oak has been conveyed to the creditor or its assignee in full satisfaction of the foregoing

claim on that property.

       6.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance(s), including any late charges, legal fees, arrearages or other charges asserted by

claimant. The loan balance(s) shown on the itemized statement shall be deemed to be the



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outstanding loan balance(s) owed to claimant for purposes of the Plan, unless disputed by the

Chapter 11 Trustee below. Upon motion filed by a party prior to the Effective Date, the Court

may extend the time for filing the itemized statement upon good cause shown. In the event such

time is extended, the Chapter 11 Trustee shall commence monthly payments arising after the

Effective Date based on the outstanding balance(s) shown on the last invoice or statement

received from the claimant prior to the Effective Date. In the event a subsequently produced

itemized statement results in a different amortized payment, the plan payments shall be adjusted

to comply with the plan.

       7.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance(s) prior to the Effective Date, or such other deadline set by the Court, the

outstanding balance(s) shown on the last invoice or statement received from the claimant prior to

the Effective Date shall be deemed to be the outstanding loan balance(s) owed to claimant for

purposes of the Plan.

       8.      The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance(s) to file a motion with the court to dispute

the loan balance(s) asserted by claimant. Pending resolution of the dispute, the Chapter 11

Trustee shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the

mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimant.

       Class 2D is impaired.

       Class 2E:        Prepetition Secured Claim of Carrington Mortgage Services, LLC

(“CMS”) as servicer for Deutsche Bank National Trust Company, as Trustee for the



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Holders of The Vendee Mortgage Trust 2003-1 (“CMS”). Consists of the unpaid balance due

to CMS on the following claim which is secured by a duly perfected first priority deed of trust on

the real property listed as follows:

         Claim No.       Claim Amount                           Property Address

         199             $60,832.46          1782 Perkins, Memphis, TN 38117
                         $67,870.58          5188 Yale Road, Memphis, TN
         177-1           $74,864.92          6050 Port Harbor Drive, Memphis, TN


       The foregoing claim shall be modified on the Effective Date and the outstanding loan

balance shall be restructured and paid as follows:

       1.        The claim shall be deemed to be fully secured without respect to the value of the

underlying collateral.

       2.        The interest rate shall be modified to 4.5%.

       3.        The principal loan balance of the loan, as of the Effective Date of the plan, will be

extended and reamortized over a 25-year period.

       4.        All other terms of the subject loans shall remain unchanged.

       5.        Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance, including any late charges, legal fees, arrearages or other charges asserted by claimant.

The loan balance shown on the itemized statement shall be deemed to be the outstanding loan

balance owed to claimant for purposes of the Plan, unless disputed by the Chapter 11 Trustee

below. Upon motion filed by a party prior to the Effective Date, the Court may extend the time

for filing the itemized statement upon good cause shown. In the event such time is extended, the

Chapter 11 Trustee shall commence monthly payments arising after the Effective Date based on

the outstanding balance(s) shown on the last invoice or statement received from the claimant

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prior to the Effective Date. In the event a subsequently produced itemized statement results in a

different amortized payment, the plan payments shall be adjusted to comply with the plan.

        6.     In the event claimant fails to provide an itemized statement of the outstanding

loan balance prior to the Effective Date, or such other deadline set by the Court, the outstanding

balance shown on the last invoice or statement received from the claimant prior to the Effective

Date shall be deemed to be the outstanding loan balance owed to claimant for purposes of the

Plan.

        7.     The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance to file a motion with the court to dispute the

loan balance asserted by claimant. Pending resolution of the dispute, the Chapter 11 Trustee

shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the

mortgage balance on claimant’s disputed itemized statement, the Chapter 11 Trustee may deduct

the overpayment from future payments owed to claimant.

        Class 2 E is impaired.

        Class 2F:      Prepetition Secured Claim of Carrington Mortgage Services, LLC

(“CMS”) as servicer for Deutsche Bank National Trust Company f/k/a Bankers Trust

Company Of California, National Association, as Trustee, for the Holders of The Vendee

Mortgage Trust 2001-2 (“CMS”).            Consists of the unpaid balance due to CMS which is

secured by a duly perfected first priority deed of trust on the real property listed as follows:

         Claim No.     Claim Amount                             Property Address

         201           $54,624.53          1346 So. Greer Street, Memphis, TN 38111




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       The foregoing claim shall be modified on the Effective Date and the outstanding loan

balance shall be restructured and paid as follows:

       1.      The claim are shall be deemed to be fully secured without respect to the value of

the underlying collateral.

       2.      The interest rate shall be modified to 4.5%.

       3.      The principal loan balance of the loan, as of the Effective Date of the plan, will be

extended and reamortized over a 25-year period.

       4.      All other terms of the subject loan shall remain unchanged.

       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance, including any late charges, legal fees, arrearages or other charges asserted by claimant.

The loan balance shown on the itemized statement shall be deemed to be the outstanding loan

balance owed to claimant for purposes of the Plan, unless disputed by the Chapter 11 Trustee

below. Upon motion filed by a party prior to the Effective Date, the Court may extend the time

for filing the itemized statement upon good cause shown. In the event such time is extended, the

Chapter 11 Trustee shall commence monthly payments arising after the Effective Date based on

the outstanding balance(s) shown on the last invoice or statement received from the claimant

prior to the Effective Date. In the event a subsequently produced itemized statement results in a

different amortized payment, the plan payments shall be adjusted to comply with the plan.

       6.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance prior to the Effective Date, or such other deadline set by the Court, the outstanding

balance shown on the last invoice or statement received from the claimant prior to the Effective




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Date shall be deemed to be the outstanding loan balance owed to claimant for purposes of the

Plan.

        7.       The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance to file a motion with the court to dispute the

loan balance asserted by claimant. Pending resolution of the dispute, the Chapter 11 Trustee

shall make Plan payments based upon the balance reflected on the claimant’s disputed itemized

statement. In the event the Chapter 11 Trustee is determined to have overpaid the mortgage

balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may deduct the

overpayment from future payments owed to claimant.

        Class 2F is impaired.

        Class 2G:       Prepetition Secured Claim of Carrington Mortgage Services, LLC

(“CMS”) as servicer for Deutsche Bank National Trust Company, f/k/a Bankers Trust

Company of California, National Association, as Trustee, for the Holders of the Vendee

Mortgage Trust 2001-1 (“CMS”). Consists of the unpaid balance due to CMS which is

secured by a duly perfected first priority deed of trust on the real property listed as

follows:

           Claim No.    Claim Amount                            Property Address

                        $ 47,086.12        5376 Crystal Oak, Memphis, TN


        The foregoing claim shall be modified on the Effective Date and the outstanding loan

balance shall be restructured and paid as follows:

        1.       The claim are shall be deemed to be fully secured without respect to the value of

the underlying collateral;

        2.       The interest rate shall be modified to 4.5%;


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        3.     The principal loan balance of the loan, as of the Effective Date of the plan, will

be extended and reamortized over a 25-year period; and

        4.     All other terms of the subject loan shall remain unchanged.

        5.     Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance, including any late charges, legal fees, arrearages or other charges asserted by claimant.

The loan balance shown on the itemized statement shall be deemed to be the outstanding loan

balance owed to claimant for purposes of the Plan, unless disputed by the Chapter 11 Trustee

below. Upon motion filed by a party prior to the Effective Date, the Court may extend the time

for filing the itemized statement upon good cause shown. In the event such time is extended, the

Chapter 11 Trustee shall commence monthly payments arising after the Effective Date based on

the outstanding balance(s) shown on the last invoice or statement received from the claimant

prior to the Effective Date. In the event a subsequently produced itemized statement results in a

different amortized payment, the plan payments shall be adjusted to comply with the plan.

        6.     In the event claimant fails to provide the itemized statement of the outstanding

loan balance prior to the Effective Date, or such other deadline set by the Court, the outstanding

balance shown on the last invoice or statement received from the claimant prior to the Effective

Date shall be deemed to be the outstanding loan balance owed to claimant for purposes of the

Plan.

        7.     The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance to file a motion with the court to dispute the

loan balance asserted by claimant. Pending resolution of the dispute, the Chapter 11 Trustee

shall make Plan payments based upon the balance reflected on the claimant’s disputed itemized



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statement. In the event the Chapter 11 Trustee is determined to have overpaid the mortgage

balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may deduct the

overpayment from future payments owed to claimant.

       Class 2G is impaired.

       Class 2H:       Prepetition Secured Claim of Carrington Mortgage Services, LLC

(“CMS”) as servicer for Deutsche Bank National Trust Company f/k/a Bankers Trust

Company Of California, National Association, as Trustee, for the Holders of The Vendee

Mortgage Trust 1998-2 (“CMS”).           Consists of the unpaid balances due to CMS which are

secured by a duly perfected first priority deed of trust on the real property listed as follows:

         Claim No.     Claim Amount                             Property Address

                       $75,199.24          4295 Marshall Road, Atoka, TN
                       $63,860.89          6628 Crystal Oak Cove, Memphis, TN


       The foregoing claim shall be modified on the Effective Date and the outstanding loan

balance shall be restructured and paid as follows:

       1.      The claim are shall be deemed to be fully secured without respect to the value of

the underlying collateral;

       2.      The interest rate shall be modified to 4.5%;

       3.      The principal loan balance of the loan, as of the Effective Date of the plan, will

be extended and reamortized over a 25-year period; and

       4.      All other terms of the subject loan shall remain unchanged.

       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance, including any late charges, legal fees, arrearages or other charges asserted by claimant.



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The loan balance shown on the itemized statement shall be deemed to be the outstanding loan

balance owed to claimant for purposes of the Plan, unless disputed by the Chapter 11 Trustee

below. Upon motion filed by a party prior to the Effective Date, the Court may extend the time

for filing the itemized statement upon good cause shown. In the event such time is extended, the

Chapter 11 Trustee shall commence monthly payments arising after the Effective Date based on

the outstanding balance(s) shown on the last invoice or statement received from the claimant

prior to the Effective Date. In the event a subsequently produced itemized statement results in a

different amortized payment, the plan payments shall be adjusted to comply with the plan.

        6.     In the event claimant fails to provide the itemized statement of the outstanding

loan balance prior to the Effective Date, or such other deadline set by the Court, the outstanding

balance shown on the last invoice or statement received from the claimant prior to the Effective

Date shall be deemed to be the outstanding loan balance owed to claimant for purposes of the

Plan.

        7.     The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance to file a motion with the court to dispute the

loan balance asserted by claimant. Pending resolution of the dispute, the Chapter 11 Trustee

shall make Plan payments based upon the balance reflected on the claimant’s disputed itemized

statement. In the event the Chapter 11 Trustee is determined to have overpaid the mortgage

balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may deduct the

overpayment from future payments owed to claimant.

        Class 2H is impaired.

        Class 2I:     Prepetition Secured Claim of Carrington Mortgage Services, LLC

(“CMS”) as servicer for Deutsche Bank National Trust Company f/k/a Bankers Trust



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Company Of California, National Association, as Trustee, for the Holders of The Vendee

Mortgage Trust 1994-2 (“CMS”).           Consists of the unpaid balances due to CMS which are

secured by duly perfected first priority deeds of trust on the real property listed as follows:

        Claim No.      Claim Amount                            Property Address

                       $27,910.81          4938 Teal Avenue, Memphis, TN
                       $25,675.85          4100 Camelot, Memphis, TN
                       $23,474.95          2970 N. Trezevant, Memphis, TN


       The foregoing claim shall be modified on the Effective Date and the outstanding loan

balance shall be restructured and paid as follows:

       1.      The claim are shall be deemed to be fully secured without respect to the value of

the underlying collateral;

       2.      The interest rate shall be modified to 4.5%;

       3.      The principal loan balance of the loan, as of the Effective Date of the plan, will

be extended and reamortized over a 25-year period; and

       4.      All other terms of the subject loan shall remain unchanged.

       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance, including any late charges, legal fees, arrearages or other charges asserted by claimant.

The loan balance shown on the itemized statement shall be deemed to be the outstanding loan

balance owed to claimant for purposes of the Plan, unless disputed by the Chapter 11 Trustee

below. Upon motion filed by a party prior to the Effective Date, the Court may extend the time

for filing the itemized statement upon good cause shown. In the event such time is extended, the

Chapter 11 Trustee shall commence monthly payments arising after the Effective Date based on

the outstanding balance(s) shown on the last invoice or statement received from the claimant

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prior to the Effective Date. In the event a subsequently produced itemized statement results in a

different amortized payment, the plan payments shall be adjusted to comply with the plan.

        6.         In the event claimant fails to provide the itemized statement of the outstanding

loan balance prior to the Effective Date, or such other deadline set by the Court, the outstanding

balance shown on the last invoice or statement received from the claimant prior to the Effective

Date shall be deemed to be the outstanding loan balance owed to claimant for purposes of the

Plan.

        7.         The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance to file a motion with the court to dispute the

loan balance asserted by claimant. Pending resolution of the dispute, the Chapter 11 Trustee

shall make Plan payments based upon the balance reflected on the claimant’s disputed itemized

statement. In the event the Chapter 11 Trustee is determined to have overpaid the mortgage

balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may deduct the

overpayment from future payments owed to claimant.

        Class 2I is impaired.

        Class 3:          Prepetition Secured Claim of Bank of Bartlett (“Bank of Bartlett”).

        Consists of the unpaid balances due to Bank of Bartlett which are secured by a duly

perfected first priority deeds of trust on the real property listed as follows:


             Claim No.     Claim Amount                         Property Address

             106           $96,932.22        9330 Barrow Cove, Cordova, TN
             107           $47,746.19        3454 Perkins Road, Memphis, TN
             108           $113,109.24       2579 Java Drive, Arlington, TN
             109           $51,125.49        3671 Boeingshire Drive, Memphis, TN
             110           $122,017.56       3913 Long Creek Road, Cordova, TN
             111           $122,017.56       1475 Sisken Drive, Cordova, TN
             112           $2,595,100.95     4031 Autumn Spring Cove, Memphis TN;

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                                  5035 Barkshire Drive, Memphis, TN;
                                  4000 N. Bordeaux Creek Cove, Memphis, TN;
                                  3726 Graves Road, Memphis, TN
                                  1009 Grouse Meadow Drive, Memphis, TN
                                  3555 Hanna Drive, Memphis, TN
                                  4775 Harvest Park Dr., Memphis, TN
                                  4852 Harvest Park Dr., Memphis, TN
                                  284 Hope Ave, Memphis, TN
                                  8425 King William St., Memphis, TN
                                  6745 Lakepoint Circle, Memphis, TN
                                  3940 Martindale Ave., Memphis, TN
                                  3485 Millington St., Memphis, TN
                                  3576 Morning Light Dr., Bartlett, TN
                                  4305 Pharoah Rd., Memphis, TN
                                  5987 Port Harbor Dr., Millington, TN
                                  5999 Port Harbor Dr., Millington, TN
                                  4406 Sandy Park Drive, Memphis, TN
                                  6071 Selkirk Dr., Memphis, TN
                                  5450 Shirlington Ave., Memphis, TN
                                  4767 Stoney Hill Drive, Memphis, TN
                                  6170 Thrushoaks Cove, Memphis, TN
                                  7790 Thunderstone Circle, Memphis, TN
                                  3886 Tonya Marie Cove South, Bartlett, TN
                                  4686 Tut Cove, Memphis, TN
                                  2410 Whitney Ave., Memphis, TN
                                  2661 Whitney Rd., Memphis, TN
                                  5631 Blocker Street, Southaven, MS
                                  3329 Boxdale, Memphis, TN;
                                  7738 Brookbury Cove, Memphis, TN;
                                  4621 Chadwell Cove, Millington, TN;
                                  6047 Chadwell Road, Millington, TN;
                                  4118 Charles Drive, Memphis, TN;
                                  4461 Cleopatra Cove North, Memphis, TN;
                                  2698 Cotton Ridge Dr., Memphis, TN;
                                  5370 Crystal Oak Drive, Memphis, TN;
                                  6625 Crystal Oak Cove, East Memphis, TN;
                                  6630 Crystal Oak Cove East, Memphis, TN;
                                  2438 Dove Glen Dr., Memphis, TN;
                                  4635 Ferrin Cove, Millington, TN;
                                  4408 Gailwood Ave., Memphis, TN;
                                  5279 Gemstone Way, Memphis, TN;
                                  2121 Good Haven Dr. ,Memphis, TN
      114         $505,777.02     4031 Autumn Spring Cove, Memphis TN;
                                  5035 Barkshire Drive, Memphis, TN;
                                  4000 N. Bordeaux Creek Cove, Memphis, TN;
                                  3726 Graves Road, Memphis, TN
                                  1009 Grouse Meadow Drive, Memphis, TN
                                  3555 Hanna Drive, Memphis, TN
                                  4775 Harvest Park Dr., Memphis, TN
                                  4852 Harvest Park Dr., Memphis, TN
                                  284 Hope Ave, Memphis, TN

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                                  8425 King William St., Memphis, TN
                                  6745 Lakepoint Circle, Memphis, TN
                                  3940 Martindale Ave., Memphis, TN
                                  3485 Millington St., Memphis, TN
                                  3576 Morning Light Dr., Bartlett, TN
                                  4305 Pharoah Rd., Memphis, TN
                                  5987 Port Harbor Dr., Millington, TN
                                  5999 Port Harbor Dr., Millington, TN
                                  4406 Sandy Park Drive, Memphis, TN
                                  6071 Selkirk Dr., Memphis, TN
                                  5450 Shirlington Ave., Memphis, TN
                                  4767 Stoney Hill Drive, Memphis, TN
                                  6170 Thrushoaks Cove, Memphis, TN
                                  7790 Thunderstone Circle, Memphis, TN
                                  3886 Tonya Marie Cove South, Bartlett, TN
                                  4686 Tut Cove, Memphis, TN
                                  2410 Whitney Ave., Memphis, TN
                                  2661 Whitney Rd., Memphis, TN
                                  5631 Blocker Street, Southaven, MS
                                  3329 Boxdale, Memphis, TN;
                                  7738 Brookbury Cove, Memphis, TN;
                                  4621 Chadwell Cove, Millington, TN;
                                  6047 Chadwell Road, Millington, TN;
                                  4118 Charles Drive, Memphis, TN;
                                  4461 Cleopatra Cove North, Memphis, TN;
                                  2698 Cotton Ridge Dr., Memphis, TN;
                                  5370 Crystal Oak Drive, Memphis, TN;
                                  6625 Crystal Oak Cove, East Memphis, TN;
                                  6630 Crystal Oak Cove East, Memphis, TN;
                                  2438 Dove Glen Dr., Memphis, TN;
                                  4635 Ferrin Cove, Millington, TN;
                                  4408 Gailwood Ave., Memphis, TN;
                                  5279 Gemstone Way, Memphis, TN;
                                  2121 Good Haven Dr., Memphis, TN
      116         $588,985.52     4031 Autumn Spring Cove, Memphis TN;
                                  5035 Barkshire Drive, Memphis, TN;
                                  4000 N. Bordeaux Creek Cove, Memphis, TN;
                                  3726 Graves Road, Memphis, TN
                                  1009 Grouse Meadow Drive, Memphis, TN
                                  3555 Hanna Drive, Memphis, TN
                                  4775 Harvest Park Dr., Memphis, TN
                                  4852 Harvest Park Dr., Memphis, TN
                                  284 Hope Ave, Memphis, TN
                                  8425 King William St., Memphis, TN
                                  6745 Lakepoint Circle, Memphis, TN
                                  3940 Martindale Ave., Memphis, TN 
                                  3485 Millington St., Memphis, TN
                                  3576 Morning Light Dr., Bartlett, TN
                                  4305 Pharoah Rd., Memphis, TN
                                  5987 Port Harbor Dr., Millington, TN
                                  5999 Port Harbor Dr., Millington, TN

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                                         4406 Sandy Park Drive, Memphis, TN
                                         6071 Selkirk Dr., Memphis, TN
                                         5450 Shirlington Ave., Memphis, TN
                                         4767 Stoney Hill Drive, Memphis, TN
                                         6170 Thrushoaks Cove, Memphis, TN
                                         7790 Thunderstone Circle, Memphis, TN
                                         3886 Tonya Marie Cove South, Bartlett, TN
                                         4686 Tut Cove, Memphis, TN
                                         2410 Whitney Ave., Memphis, TN
                                         2661 Whitney Rd., Memphis, TN
                                         5631 Blocker Street, Southaven, MS
                                         3329 Boxdale, Memphis, TN;
                                         7738 Brookbury Cove, Memphis, TN;
                                         4621 Chadwell Cove, Millington, TN;
                                         6047 Chadwell Road, Millington, TN;
                                         4118 Charles Drive, Memphis, TN;
                                         4461 Cleopatra Cove North, Memphis, TN;
                                         2698 Cotton Ridge Dr., Memphis, TN;
                                         5370 Crystal Oak Drive, Memphis, TN;
                                         6625 Crystal Oak Cove, East Memphis, TN;
                                         6630 Crystal Oak Cove East, Memphis, TN;
                                         2438 Dove Glen Dr., Memphis, TN;
                                         4635 Ferrin Cove, Millington, TN;
                                         4408 Gailwood Ave., Memphis, TN;
                                         5279 Gemstone Way, Memphis, TN;
                                         2121 Good Haven Dr., Memphis, TN


       The foregoing claims shall be modified on the Effective Date and the outstanding loan

balances shall be restructured and paid in accordance with the terms of that certain Consent

Order dated December 27, 2011 as follows:

          1.   The total outstanding consolidated debt is stipulated to be $3,825,000 and this

 indebtedness shall be evidenced by a new Promissory Note dated December 15, 2011 with a

 fixed rate of 4.5% interest amortized on a twenty-five year basis with a five year term.

 Monthly payments will begin on January 15, 2012 with a monthly payment of approximately

 $21,260.59. Absent the occurrence of a prior event of default, the loan shall be renewable for a

 second five year term with interest at the Wall Street Journal prime rate plus one percentage

 point.

          2.   For potential future release purposes the parties agree that the following
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  properties shall have the listed individual debt balances as of December 15, 2011:

                         3454 Perkins - $44,750
                         2759 Java - $110,100
                         3671 Boeingshire - $48,125
                         3913 Long Creek - $80,800

        In the event the Debtors wish to sell any of the four listed properties, then provided

Debtors are current in payments under the New Note, then the agreed payoff balance shall be

determined if each individual property remained as a separate loan with a fixed rate of interest at

4.5%, amortized on a 25-year basis, with a 5-year term. The same condition shall continue in the

event the loan is renewed for a second 5-year term as provided herein above.

          3.     The Debtors, or their company Affordable Management, LLC, or another agreed

  entity, will maintain a separate escrow account at the Bank of Bartlett which will receive

  monthly deposits of property tax payment from tenants at the Collateral Properties. The

  Debtors will ensure otherwise that sufficient monthly deposits are made so that funds are

  accumulated for timely payment of city and county real property taxes.

          4.     The Debtors will provide the Bank will proof of quarterly payments for insurance

  coverage on the Collateral Properties.

          5.     Collateral Properties that are vacant more than four consecutive months will be

  listed for sale but the Debtors have the right to remove the property from the sale market if the

  Debtors are able to obtain a lease purchase contract before a purchase contract is received.

        Class 4:         Prepetition Secured Claim of Cadence Bank, N.A. (“Cadence”). Consists of

the unpaid balance due to Cadence which is secured by a duly perfected first priority deed of trust and

second priority deed of trust on the real property listed as follows:

          Claim No.        Claim                                        Property Address
                           Amount
          32               $149,952.73             7477 Logancrest, Memphis, TN (second mtg)
                                                   4360 Cloudburst, Memphis, TN

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       The foregoing claim shall be modified on the Effective Date and the outstanding loan

balance shall be restructured and paid as follows:

       1.      The claim are shall be deemed to be fully secured without respect to the value of

the underlying collateral;

       2.      The interest rate shall be modified to 4.5%;

       3.      The principal loan balance of the loan, as of the Effective Date of the plan, will be

extended and reamortized over a 25-year period with a maturity date of ten (10) years from the

Effective Date; and

       4.      All other terms of the subject loan shall remain unchanged

       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance, including any late charges, legal fees, arrearages or other charges asserted by claimant.

The loan balance shown on the itemized statement shall be deemed to be the outstanding loan

balance owed to claimant for purposes of the Plan, unless disputed by the Chapter 11 Trustee

below. Upon motion filed by a party prior to the Effective Date, the Court may extend the time

for filing the itemized statement upon good cause shown. In the event such time is extended, the

Chapter 11 Trustee shall commence monthly payments arising after the Effective Date based on

the outstanding balance(s) shown on the last invoice or statement received from the claimant

prior to the Effective Date. In the event a subsequently produced itemized statement results in a

different amortized payment, the plan payments shall be adjusted to comply with the plan.

       6.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance prior to the Effective Date, or such other deadline set by the Court, the outstanding



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balance shown on the last invoice or statement received from the claimant prior to the Effective

Date shall be deemed to be the outstanding loan balance owed to claimant for purposes of the

Plan.

        7.        The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance to file a motion with the court to dispute the

loan balance asserted by claimant. Pending resolution of the dispute, the Chapter 11 Trustee

shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the

mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimant.

        Class 4 is impaired.

        Class 5:          Prepetition Secured Claim of Chase Home Finance LLC (“Chase”).

        Consists of the unpaid balances due to Chase which are secured by a duly perfected first

priority deeds of trust on the real property listed as follows:

             Claim No.     Claim Amount                           Property Address

             1             $87,452.91        5394 Meadow Cross, Memphis, TN 38141
             8             $60,913.82        3027 Ridgeway, Memphis, TN 38115
             10            $42,898.36        4146 Garden Birch, Memphis, TN 38115
             38            $61,167.23        3322 Ridgeway, Memphis, TN 38115


        The foregoing claims shall be modified on the Effective Date and the outstanding loan

balances shall be restructured and paid as follows:

        1.        The claims shall be deemed to be fully secured without respect to the value of the

underlying collateral.

        2.        The interest rate shall be modified to 4.5%.


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       3.      The principal loan balances of each loan, as of the Effective Date of the plan, will

be extended and reamortized over a 25-year period.

       4.      All other terms of the subject loan shall remain unchanged

       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance(s), including any late charges, legal fees, arrearages or other charges asserted by

claimant. The loan balance(s) shown on the itemized statement shall be deemed to be the

outstanding loan balance(s) owed to claimant for purposes of the Plan, unless disputed by the

Chapter 11 Trustee below. Upon motion filed by a party prior to the Effective Date, the Court

may extend the time for filing the itemized statement upon good cause shown. In the event such

time is extended, the Chapter 11 Trustee shall commence monthly payments arising after the

Effective Date based on the outstanding balance(s) shown on the last invoice or statement

received from the claimant prior to the Effective Date. In the event a subsequently produced

itemized statement results in a different amortized payment, the plan payments shall be adjusted

to comply with the plan.

       6.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance(s) prior to the Effective Date, or such other deadline set by the Court, the

outstanding balance(s) shown on the last invoice or statement received from the claimant prior to

the Effective Date shall be deemed to be the outstanding loan balance(s) owed to claimant for

purposes of the Plan.

       7.      The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance(s) to file a motion with the court to dispute

the loan balance(s) asserted by claimant. Pending resolution of the dispute, the Chapter 11



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Trustee shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the

mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimant.

        Class 5 is impaired.

        Class 6:          Prepetition Claim of DiTech, as Assignee of GMAC Mortgage and

Citimortgage (“DiTech”). Consists of the unpaid balance due to DiTech, as assignee of GMAC

Mortgage, LLC and Green Tree Servicing, LLC on claims which are secured by a duly perfected

first priority deeds of trust on the real property listed as follows:


             Claim No.     Claim Amount                           Property Address

             9             $61,658.58         1256 White Station, Memphis, TN
             21            $112,741.05        4993 Graham Lake Drive, Memphis, TN
             22            $53,518.68         4927 Parkside, Memphis, TN 38117 
             23            $33,618.69         4461 Sunnyslope, Memphis, TN 38141 
             19            $57,299.00         6442 Amberview Cove, Memphis, TN 38141
             51            $97,819.67         4861 Allendale Drive, Memphis, TN

        The foregoing claims shall be modified on the Effective Date and the outstanding loan

balances shall be restructured and paid as follows:

        1.         The claims shall be deemed to be fully secured without respect to the value of the

underlying collateral.

        2.         The interest rate shall be modified to 4.0%.

        3.         The principal loan balances of each loan, except as to 4461 Sunnyslope, as of the

Effective Date of the plan, will be extended and reamortized over a 25-year period; the current

maturity date on the loan secured by 4461 Sunnyslope shall remain in effect.

        4.         All other terms of the subject loan shall remain unchanged.


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       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance(s), including any late charges, legal fees, arrearages or other charges asserted by

claimant. The loan balance(s) shown on the itemized statement shall be deemed to be the

outstanding loan balance(s) owed to claimant for purposes of the Plan, unless disputed by the

Chapter 11 Trustee below. Upon motion filed by a party prior to the Effective Date, the Court

may extend the time for filing the itemized statement upon good cause shown. In the event such

time is extended, the Chapter 11 Trustee shall commence monthly payments arising after the

Effective Date based on the outstanding balance(s) shown on the last invoice or statement

received from the claimant prior to the Effective Date. In the event a subsequently produced

itemized statement results in a different amortized payment, the plan payments shall be adjusted

to comply with the plan.

       6.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance(s) prior to the Effective Date, or such other deadline set by the Court, the

outstanding balance(s) shown on the last invoice or statement received from the claimant prior to

the Effective Date shall be deemed to be the outstanding loan balance(s) owed to claimant for

purposes of the Plan.

       7.      The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance(s) to file a motion with the court to dispute

the loan balance(s) asserted by claimant. Pending resolution of the dispute, the Chapter 11

Trustee shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the




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mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimant.

       Class 6 is impaired.

       Class 7:       Prepetition Secured Claim of Farm Credit Mid-South (“Farm

Credit”). Farm Credit filed proof of claim 196 in the amount of $226, 384.56 secured by land

and property located in Marshall County, Mississippi. On April 26, 2013, the Court granted Farm

Credit’s Motion for Relief from Stay and for Abandonment of Property. As a result of the order,

the real property was abandoned from the estate and surrendered to Farm Credit. Farm Credit

shall be deemed to be fully secured and satisfied from the sale of the abandoned properties. No

further payments shall be made on account of this claim by the estate or pursuant to this Plan.

       Class 7 is impaired.

       Class 8:       Prepetition Secured Claim of Federal National Mortgage Association

(“FNMA”) as Assignee of Chase Mortgage. Consists of the unpaid balance due to FNMA on

claims which are secured by a duly perfected first priority deeds of trust on the real property

listed as follows:

         Claim No.    Claim Amount                           Property Address

         48           $102,097.96        3999 Autumn Springs, Memphis, TN
         84           $99,948.84         4014 Autumn Springs, Memphis, TN
         45           $110,977.69        5295 Cherokee Rose, Memphis, TN
         54           $93,701.09         6315 Farm Hill, Memphis, TN
         49           $95,484.90         5371 Farm Ridge, Memphis, TN
         47           $94,948.93         6320 Hayfield Lane, W., Memphis, TN
         56           $92,094.75         6329 Hayfield Lane, Memphis, TN
         55           $93,701.09         6335 Hayfield Lane, Memphis, TN
         52           $110,659.58         5987 Hickory Grove, Memphis, TN
         44           $43,628.83          5831 Jardin Place, Memphis, TN
         8            $60,913.82         3027 Ridgeway, Memphis, TN


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        38               $61,167.23         3322 Ridgeway, Memphis, TN
        53               $51,141.10         6738 Valley Bend, Memphis, TN
        57               $46,510.26         1599 Wilson, Memphis, TN
        50               $99,769.98          7800 Redfearn Circle South, Memphis, TN 38133


       The foregoing claims shall be modified on the Effective Date and the outstanding loan

balances shall be restructured and paid as follows:

       1.      The claims shall be deemed to be fully secured without respect to the value of the

underlying collateral.

       2.      The interest rate shall be modified to 4.5%.

       3.      The principal loan balances of each loan, as of the Effective Date of the plan, will

be extended and reamortized over a 25-year period.

       4.      All other terms of the subject loan shall remain unchanged.

       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance(s), including any late charges, legal fees, arrearages or other charges asserted by

claimant. The loan balance(s) shown on the itemized statement shall be deemed to be the

outstanding loan balance(s) owed to claimant for purposes of the Plan, unless disputed by the

Chapter 11 Trustee below. Upon motion filed by a party prior to the Effective Date, the Court

may extend the time for filing the itemized statement upon good cause shown. In the event such

time is extended, the Chapter 11 Trustee shall commence monthly payments arising after the

Effective Date based on the outstanding balance(s) shown on the last invoice or statement

received from the claimant prior to the Effective Date. In the event a subsequently produced

itemized statement results in a different amortized payment, the plan payments shall be adjusted

to comply with the plan.

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        6.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance(s) prior to the Effective Date, or such other deadline set by the Court, the

outstanding balance(s) shown on the last invoice or statement received from the claimant prior to

the Effective Date shall be deemed to be the outstanding loan balance(s) owed to claimant for

purposes of the Plan.

        7.      The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance(s) to file a motion with the court to dispute

the loan balance(s) asserted by claimant. Pending resolution of the dispute, the Chapter 11

Trustee shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the

mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimant.

        Class 8 is impaired.

        Class 9:         Prepetition Secured Claim of First Alliance Bank (“First Alliance”).

Consists of the unpaid balance due to First Alliance on claims which are secured by a duly

perfected first priority deeds of trust on the real property listed as follows:

         Claim No.       Claim Amount                           Property Address

         101             $148,072.01        4163 Reed Avenue, Memphis, TN
         102             120,194.05         262 Ericson, Memphis, TN



        The foregoing claims shall be modified on the Effective Date and the outstanding loan

balances shall be restructured and paid as follows:

        1.      The claims shall be deemed to be fully secured without respect to the value of the

underlying collateral.


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       2.      The interest rate shall be modified to 4.0%.

       3.      The principal loan balances of each loan, as of the Effective Date of the plan, will

be extended and reamortized over a 25-year period.

       4.      All other terms of the subject loan shall remain unchanged.

       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance(s), including any late charges, legal fees, arrearages or other charges asserted by

claimant. The loan balance(s) shown on the itemized statement shall be deemed to be the

outstanding loan balance(s) owed to claimant for purposes of the Plan, unless disputed by the

Chapter 11 Trustee below. Upon motion filed by a party prior to the Effective Date, the Court

may extend the time for filing the itemized statement upon good cause shown. In the event such

time is extended, the Chapter 11 Trustee shall commence monthly payments arising after the

Effective Date based on the outstanding balance(s) shown on the last invoice or statement

received from the claimant prior to the Effective Date. In the event a subsequently produced

itemized statement results in a different amortized payment, the plan payments shall be adjusted

to comply with the plan.

       6.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance(s) prior to the Effective Date, or such other deadline set by the Court, the

outstanding balance(s) shown on the last invoice or statement received from the claimant prior to

the Effective Date shall be deemed to be the outstanding loan balance(s) owed to claimant for

purposes of the Plan.

       7.      The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance(s) to file a motion with the court to dispute



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the loan balance(s) asserted by claimant. Pending resolution of the dispute, the Chapter 11

Trustee shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the

mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimant.

       Class 9 is impaired.

       Class 10:       Prepetition Secured Claim of First Bank (“First Bank”). Consists of

the prepetition unpaid balance due to First Bank in the approximate amount of $3,472,724.27

which was secured by a duly perfected first priority deeds of trust on the real property consisting

of 7000 acres +/- located in Benton and Henry Counties, Tennessee and 748 Highway 51,

Covington, Tennessee. This claim has been satisfied in full through the sale of property in

Benton and Henry Counties. No further payments shall be made on account of this claim by the

estate or pursuant to this Plan.

       Class 10 is unimpaired.

       Class 11:       Prepetition Secured Claim of First Capital (“First Capital”). Consists

of the unpaid balances due to First Capital which are secured by duly perfected first priority

deeds of trust on the real property listed as follows:

         Claim No.     Loan Balance                            Property Address

                       $26,437.48          1508 Colonial Road, Memphis, TN
                       $26,437.48          3236 Markely St, Memphis, TN
                       $26,437.48          4969 Millbranch, Memphis, TN
                       $26,437.48          3291 Sandy Springs, Memphis, TN
                                           5218 Smith Grove,
                                           5236 Smith Grove




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        The automatic stay has been previously lifted as to 5218 Smith Grove and 5236 Smith

Grove. Said properties have been abandoned by the estate and no further distribution shall be

made on such loan by the estate.

        The loans on the property located at 1508 Colonial, 3236 Markley, 4969 Millbranch and

3291 Sandy Springs are in the name of Wring Real Estate, LLC. The terms of such loan are not

modified by this Plan.

        Class 11 is impaired.

        Class 12:        Prepetition Secured Claim of First Citizens Bank (“First Citizens”).

Consists of the prepetition unpaid balance due to First Citizens which are secured by a duly

perfected first priority deeds of trust on the real property listed as follows:

         Claim No.       Claim Amount                           Property Address

         12              $28.285.85         2593 Kate Bond Road
         13              $450,969.68        325 Valleybrook Cove, Horn Lake, MS 38637
                                            7462 Logan Crest Lane, Memphis, TN 38119
                                            3020 Logan Crest Cove, Memphis, TN 38119
                                            9465 Bethel Rd., Olive Branch, MS 38654
                                            220 Caroline Drive, Walls, MS 38680
                                            4210 Brighton Drive, Horn Lake, MS 38637
                                            6545 Rosewood, Olive Branch, MS 38654
                                            9441 Bethel R., Olive Branch, MS 38654
         14              $89,907.76         4825 Harvest Park
         15              $89,904.76         4793 Harvest Park
         16              $89,904.76         4881 Harvest Park
         17              $89,909.21         4809 Harvest Park



        The foregoing properties have been sold pursuant to Court orders and the claims of First

Citizens Bank relating to such properties have been satisfied in full. The claim of First Citizens

Bank on the above properties shall be deemed to be fully secured and satisfied from the sale of




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the properties. No further distribution shall be made under the Plan on account of loans relating

to the foregoing properties.

       Class 12 is unimpaired.

       Class 13:       Prepetition Secured Claim of First Community Bank of Eastern AR

(“First Community AR”). Consists of the prepetition unpaid balances due to First Community

Bank of Eastern AR which are secured by a duly perfected first priority deeds of trust on the real

property listed as follows:

         Claim No.     Claim Amount                               Property Address

         149           $1,005,877.39       1,014 acres of farmland located in Forrest City, AR
         150           $302,772.04         187 acres of undeveloped residential property



       Pursuant to the terms of those certain Agreed Orders Granting First Community AR’s

motion for relief from automatic stay [D.E. 771 and 773], the Debtors deeded the collateral

securing the claims of First Community AR to the bank in lieu of foreclosure and in satisfaction

of the claims. First Community’s claims shall be allowed as fully secured claims secured by

property which has been deeded to them in satisfaction of their claims. No further distribution

shall be made from the estate on account of such claims.

       Class 13 is unimpaired.

       Class 14:       Prepetition Secured Claim of First State Bank (“First State”).

Consists of the unpaid balances due to First State which are secured by duly perfected first

priority deeds of trust on the real property listed as follows:

         Claim No.     Claim Amount                               Property Address

                                           4935 Battleforest Cove
                                           4611 Chadwell
                                           5912 Chadwell

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                                           5946 Chadwell
                                           4309 Cleopatra
                                           4347 Cleopatra
                                           4377 Cleopatra
                                           4421 Cleopatra
                                           5354 Farm Ridge
                                           4720 Harvest Park
                                           26 Hickory Hill
                                           5036 Holly Ridge Drive
                                           5064 Judy Lynn Drive
                                           4687 Lindawood
                                           4451 Meadowcliff Drive
                                           6994 Oakland Chase
                                           3927 Plum Hill Drive
                                           1967 Pomona Avenue
                                           15 Rainbow Cove
                                           4023 Shinault
                                           4342 Spring Oak
                                           7549 Starfire Cove



       The foregoing properties have been sold pursuant to Court orders and the claims of First

State Bank relating to such properties have been satisfied in full. The claim of First State Bank

on the above properties shall be deemed to be fully secured and satisfied from the sale of the

properties. No further distribution shall be made under the Plan on account of loans relating to

the foregoing properties.

       Class 14 is unimpaired.

       Class 15:       Prepetition Secured Claim of First State Bank (Holly Springs).

Consists of the unpaid balance due to First State Bank of Holly Springs, MS which is secured by

a duly perfected first priority deeds of trust on the real property listed as follows:

         Claim No.     Claim Amount                             Property Address


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         134           $162,288.36          Land on Beck Spring Road, Hickory Flat, MS



        The foregoing property has been sold pursuant to Court orders and the claims of First

State Bank (Holly Springs) relating to such property has been satisfied in full. The claim of First

State Bank on the above properties shall be deemed to be fully secured and satisfied from the

sale of the properties. No further distribution shall be made under the Plan on account of loans

relating to the foregoing properties.

        Class 15 is unimpaired.

        Class 16:       Prepetition Secured Claim of Hardin County Bank (“HCB”). Consists

of the unpaid balance due to HCB which claim is secured by a duly perfected first priority deeds

of trust on the real property listed as follows:

          Claim No.      Claim Amount                          Property Address

          163            $2,119,274.03      183 acres of unimproved real property located in Fayette
                                            County, TN
                                            945 acres of unimproved real property located in
                                            Humphreys County, TN
                                            758.3 acres of unimproved real property located in
                                            McNairy County, TN
                                            Unimproved real property located in Perry County and
                                            McNairy County, TN


        Pursuant to prior orders of the Court, the automatic stay was lifted with respect to the

foregoing property and HCB agreed to waive any deficiency claim. The claim of HCB shall be

allowed as a fully secured claim secured by property abandoned from the estate and shall not be

entitled to any further distribution from the estate.

        Class 16 is unimpaired.

        Class 17:       Prepetition Secured Claim of JP Morgan Chase Bank, N.A. (“JP

Morgan”) as Servicing Agent for one or more Mortgage Trusts. Consists of the unpaid


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balances due to JP Morgan, as servicing agent, which are secured by duly perfected first priority

deeds of trust on the parcels of real property listed as follows:

         Claim No.       Claim Amount                           Property Address

         53              $51,141.10          6738 Valley Bend, Memphis, TN
         59              $48,120.69          5969 Whisper Valley, Memphis, TN 38141
         84              $99,948.84          4014 Autumn Springs Cove, Memphis, TN


       The foregoing claims shall be modified on the Effective Date and the outstanding loan

balances shall be restructured and paid as follows:

       1.      The claims shall be deemed to be fully secured without respect to the value of the

underlying collateral.

       2.      The interest rate shall be modified to 4.0%.

       3.      The principal loan balances of each loan, as of the Effective Date of the plan, will

be extended and reamortized over a 25-year period.

       4.      All other terms of the subject loan shall remain unchanged

       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance(s), including any late charges, legal fees, arrearages or other charges asserted by

claimant. The loan balance(s) shown on the itemized statement shall be deemed to be the

outstanding loan balance(s) owed to claimant for purposes of the Plan, unless disputed by the

Chapter 11 Trustee below. Upon motion filed by a party prior to the Effective Date, the Court

may extend the time for filing the itemized statement upon good cause shown. In the event such

time is extended, the Chapter 11 Trustee shall commence monthly payments arising after the

Effective Date based on the outstanding balance(s) shown on the last invoice or statement

received from the claimant prior to the Effective Date. In the event a subsequently produced

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itemized statement results in a different amortized payment, the plan payments shall be adjusted

to comply with the plan.

        6.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance(s) prior to the Effective Date, or such other deadline set by the Court, the

outstanding balance(s) shown on the last invoice or statement received from the claimant prior to

the Effective Date shall be deemed to be the outstanding loan balance(s) owed to claimant for

purposes of the Plan.

        7.      The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance(s) to file a motion with the court to dispute

the loan balance(s) asserted by claimant. Pending resolution of the dispute, the Chapter 11

Trustee shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the

mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimant.

        Class 17 is impaired.

        Class 18:       Prepetition Secured Claim of Memphis Area Teachers Credit Union

(“MATCU”). Consists of the unpaid balances due to MATCU which are secured by a duly

perfected first priority deeds of trust on the real property listed as follows:

         Claim No.      Claim Amount                             Property Address

                        $1,621,050.00       3046 Brookdale

                                            6538 Baybrook
                                            5876 Hamlet
                                            1579 Hester
                                            8875 Hidden Springs
                                            7253 Ashley Oaks
                                            4906 Bluewing

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                                           1767 Oakwood
                                           3837 Pattie Ann
                                           3558 Regency Park
                                           156 Rhonda Circle East
                                           4823 Rickard Road
                                           5764 Saranac
                                           5369 Scottsdale
                                           4062 E. Whitehaven
                                           1657 Winfield
                                           6538 Baybrook Lane
                                           1027 McEvers
                                           4262 Plum Valley Cove
                                           655 Riverside Drive, Unit 1204
                                           655 Riverside Drive, Unit 1006A


       Pursuant to prior orders of the Court entered on April 16, 2010, the automatic stay was

lifted to permit MATCU to foreclose on the above referenced properties which are deemed

abandoned from the bankruptcy estate. The claim of MATCU shall be allowed as a fully secured

claim secured by property abandoned from the estate and shall not be entitled to any further

distribution from the estate.

       Class 18 is impaired.

       Class 19:       Prepetition Secured Claim of NationStar Mortgage (“NationStar”).

Consists of the unpaid balance due to NationStar which are secured by a duly perfected first

priority deeds of trust on the real property listed as follows:

         Claim No.     Claim Amount                               Property Address

         5-2           $121,395.62         4843 Buttermilk Drive, Memphis, TN
         25-1          $47,308.11          1717 Homedale, Memphis, TN
         26-1          $52,753.56          4162 Camelot Ave., Memphis, TN
         27-2          $57,435.02          3006 Hunters Way, Memphis, TN
         28-2          $39,275.80          1361 Gherald, Memphis, TN
         29-2          $91,373.76          5983 Michaelson, Olive Branch, MS




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       The Prepetition Claims of NationStar were modified by consensual post-petition

modification agreements entered into effective as of November 1, 2010.              Pursuant to the

modifications the loan interest rates were reduced and maturity dates modified (if applicable) as

set forth in the modification agreements. NationStar’s prepetition claims shall be allowed as

modified by the post-petition modification agreements.

       Class 19 is impaired.

       Class 20:       Prepetition Secured Claim of Patriot Bank (“Patriot Bank”). Consists

of the unpaid balance due to Patriot Bank in the approximate amount of $284,000 which is

secured by a duly perfected first priority deed of trust on the real property consisting of

approximately 298.7 +/- acres of land in Whiteville, Tennessee. The foregoing property has

been sold pursuant to Court orders and the claim of Patriot Bank relating to such property has

been satisfied in full. The claim of Patriot Bank on the above property shall be deemed to be

fully secured and satisfied from the sale of the property. No further distribution shall be made

under the Plan on account of loans relating to the foregoing property.

       Class 20 is unimpaired.

       Class 21:       Prepetition Secured Claim of PNC Mortgage, N.A. (“PNC”). Consists

of the unpaid balance due to PNC which is secured by a duly perfected first priority deeds of

trust on the real property listed as follows:

         Claim No.     Claim Amount                            Property Address

         20-1          $56,889.40           321 Oakland Drive, Lawrenceville, Georgia


       The foregoing property has been sold pursuant to Court order . The claim of PNC on the

above property shall be deemed to be fully secured and satisfied from the sale of the property.




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No further distribution shall be made under the Plan on account of loans relating to the foregoing

property.

       Class 21 is unimpaired.

       Class 22:         Prepetition Secured Claim of Regions Bank (“Regions”). Consists of

the unpaid balances due to Regions which are secured by a duly perfected first priority deeds of

trust on the real property listed as follows:

         Claim No.       Claim Amount                           Property Address

         92-1            $108,700           3992 Shinault, Memphis, TN
         93-1            $82,378.82         6286 Hayfield Lane West, Memphis, TN
         94-1            $59,888.57         5360 Farm Ridge Dr. Memphis, TN
         95-1            $117,696.00        4011 Shinault, Memphis, TN
         96-1            $103,500.00        4058 Bordeaux Creek South, Memphis, TN
         97-2            $93,639.00         6274 Hayfield Lane West, Memphis, TN
         98-1            $116,400.00        4921 Noel Mission Drive, Memphis, TN
         99-1            $84,545.00         6301 Harvest Run, Memphis, TN
         100-1           $81,785.00         6281 Harvest Run, Memphis, TN


       The foregoing claims shall be modified on the Effective Date and the outstanding loan

balances shall be restructured and paid as follows:

       1.        The claims shall be deemed to be fully secured without respect to the value of the

underlying collateral.

       2.        The interest rate shall be modified to 4.0%.

       3.        The principal loan balances of each loan, as of the Effective Date of the plan, will

be extended and reamortized over a 25-year period.

       4.        All other terms of the subject loan shall remain unchanged

       5.        Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance(s), including any late charges, legal fees, arrearages or other charges asserted by

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claimant. The loan balance(s) shown on the itemized statement shall be deemed to be the

outstanding loan balance(s) owed to claimant for purposes of the Plan, unless disputed by the

Chapter 11 Trustee below. Upon motion filed by a party prior to the Effective Date, the Court

may extend the time for filing the itemized statement upon good cause shown. In the event such

time is extended, the Chapter 11 Trustee shall commence monthly payments arising after the

Effective Date based on the outstanding balance(s) shown on the last invoice or statement

received from the claimant prior to the Effective Date. In the event a subsequently produced

itemized statement results in a different amortized payment, the plan payments shall be adjusted

to comply with the plan.

       6.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance(s) prior to the Effective Date, or such other deadline set by the Court, the

outstanding balance(s) shown on the last invoice or statement received from the claimant prior to

the Effective Date shall be deemed to be the outstanding loan balance(s) owed to claimant for

purposes of the Plan.

       7.      The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance(s) to file a motion with the court to dispute

the loan balance(s) asserted by claimant. Pending resolution of the dispute, the Chapter 11

Trustee shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the

mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimant.

       Claim 22 is impaired.




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       Class 23:        Prepetition Claim of RJ Real Estate Holdings, GP as Assignee of

Regions Bank Holdings Consists of the unpaid balances due to RJ Real Estate Holdings, L.P.

which are secured by duly perfected first priority deeds of trust on the real property listed as

follows:

           Claim No.    Claim Amount                        Property Address

           89-1         $2,136,468.92    6669 Chesapeake Drive, Memphis, TN
                                         4555 Cognac Drive, Memphis, TN
                                         4539 Fawn Hollow Circle W., Memphis, TN
                                         4537 Windward Drive, Memphis, TN
                                         4652 Kassell Road, Memphis, TN
                                         4305 Mickey Drive, Memphis, TN
                                         1268 Scottsdale Ave., Memphis, TN
                                         3367 Robins Roost Drive, Bartlett, TN
                                         6690 Reindeer Avenue, Memphis, TN
                                         7651 Carter Creek Cove, Memphis, TN
                                         6359 Thornfield Dr. Memphis, TN
                                         2683 Cotton Ridge, Memphis, TN
                                         4543 Sunnyslope Dr., Memphis, TN
                                         4315 Auburn Road, Memphis, TN
                                         6545 Fern Creek Drive, Memphis, TN
                                         2974 Tamerlane Lane, Germantown, TN
                                         6332 Solway Drive, Memphis, TN
                                         7515 Val Marie Lane, Memphis, TN
                                         5446 Maple Ridge Road, Memphis, TN
                                         1886 Cornelia Lane, Memphis, TN
                                         6301 Acorn Drive, Memphis, TN
                                         4845 Callaway Hills Drive, Memphis, TN
                                         6458 Amberwood Drive, Memphis, TN 38141
                                         5430 Newberry Avenue, Memphis, TN
                                         4915 Bronze Drive, Memphis, TN
                                         Ray Bluff Road

           90-1         $1,938,175.92    Lot 23, Eason Hills S.D.
                                         Lot 93, Ragan Farms S.D.
                                         Lot 3, Harvest Knoll S.D.
                                         Lot 103, Callaway Hills, S.D.
                                         Lot 9, Harvest Knoll S.D.
                                         Lot 206, Raleigh North S.D.
                                         Lot 91, Hickory Grove, P.D.
                                         Lot 41, Cross Creek S.D.
                                         Lot 256, Parkway Village S.D.
                                         Lot 120, Cottonwood S.D.
                                         Lot 18, Thrifthaven S.D.
                                         Lot 3, Hines Re-subdivision
                                         Lot 7, Lynchburg Park Subdivision

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                                       Lot 72, Mendenair S.D.
                                       Lot 141, Willowdale S.D.
                                       Lot 99, Ridgeway Estates W. S.D.
                                       Lot 231, Poplar Estates S.D.
                                       Lot 68 Birch Run S.D.
                                       Lot 78 Goodman Bros. Colonial Heights S.D.
                                       Lot 239, Raleigh North S.D.
                                       Lot 113, Shelby Terrace S.D.
                                       Lot 7 Martin West S.D.
                                       Lot 53 Vaughn Village S.D.
                                       Lot 83 and Part of lot 82 Germantown Trails S.D.
                                       Lot 5 Whitehaven Gardens S.D.
                                       Lot 63, Cottonwood Park S.D.
                                       Lot 283 Ridgeway Estates S.D.
                                       1366 Abernathy Ave. , Memphis, TN
                                       1517 Brookside Dr. Memphis, TN
                                       6349 Hayfield Cove, Memphis, TN
                                       6589 Birch Run Lane, Memphis, TN
                                       7446 Hollyview Dr. Memphis, TN
                                       3539 Douglass Avenue, Memphis, TN
                                       7679 Mineral Crest Cir. S. Memphis, TN
                                       1083 Isabelle Street, Memphis, TN
                                       4965 Ultima Cove, Memphis, TN
                                       4123 Owen Road, Memphis, TN
                                       4242 Hickory Grove Drive, Memphis, TN
                                       5049 Pear Tree Cove, Memphis, TN
                                       4832 Bridgedale, Memphis, TN
                                       1407 Finley, Memphis, TN
                                       2890 Cherry Rd,, Memphis, TN
                                       5080 Judy Lynn Ave. Memphis, TN
                                       1647 Hartland St. Memphis, TN
                                       4126 Berrybrook Road, Memphis, TN
                                       4013 Martindale Ave., Memphis, TN
                                       1230 Creek Edge Cove, Memphis, TN
                                       3228 Cookie Cove, Memphis, TN
                                       5886 Willow Springs Cove, TN
                                       1878 Capri St, Memphis, TN
                                       5872 Garden Ridge, Millington, TN
                                       5811 Jardin Place, Memphis, TN 38141
                                       6314 Leamont, Millington, TN 38053
                                       360 acres farmland, Mt. Gillian, Holly Springs, MS
        91-1         $333,880.77       199.501 acre tract, Marshall County, MS
                                       106.186 acre tract, Marshall County, MS
                                       41.72 acre tract, Marshall County, MS



       Pursuant to prior orders of the Court entered on June 3, 2010, the automatic stay was

lifted to permit Regions Bank to foreclose on the above referenced properties which are deemed

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abandoned from the bankruptcy estate. Subsequent to entry of the order, Regions Bank assigned

its loans to RJ Holdings, GP. The Debtors entered into an agreement to allow transfer the

foregoing properties to RJ Holdings, GP in lieu of foreclosure and in satisfaction of the debt

owed against these properties. The claim of RJ Holdings, as assignee of Regions, shall be

allowed as a fully secured claim secured by property abandoned from the estate and shall not be

entitled to any further distribution from the estate.

       Class 23 is unimpaired.

       Class 24:       Prepetition Secured Claim of R.J. Real Estate Holdings, G.P., as

Assignee of First Tennessee Bank. Consists of the unpaid balance due to R.J. Real Estate

Holdings, G.P. (“RJ Holdings”) on claims which are secured by a duly perfected first priority

deeds of trust on the real property listed as follows but excluding real property located at 4812

Mendenhall S. Memphis, Tennessee and excluding an amounts in the referenced proof of claim

relating to swap loan balances;

         Claim No.     Claim Amount                          Property Address

         104-1         $6,070,586.22       8057 Abington Woods, Arlington, TN;
                                           4563 Appleville, Memphis, TN;
                                           5005 Ashland Grove, Arlington, TN;
                                           5070 Ashland Grove, Arlington, TN
                                           7361 Ashley Oaks, Memphis, TN
                                           4004 Auburn, Memphis, TN
                                           9330 Barrow, Cordova, TN
                                           9347 Barrow, Cordova, TN
                                           3188 Belle Tower, Memphis, TN
                                           4154 Bishops Bridge, Memphis, TN]
                                           7857 Brad Forest, Memphis, TN
                                           7616 Breezewood, Memphis, TN
                                           1518 Briar Cove, Memphis, TN
                                           9402 Brightstock Cove, Cordova, TN
                                           8015 Calefalls, Arlington, TN
                                           8016 Calefalls, Arlington, TN
                                           3933 Charles Drive, Memphis, TN
                                           6457 Copper Valley Drive S., Memphis, TN
                                           5020 Crab Orchard Cove, Memphis, TN
                                           1304 Crossmont Cove, Cordova, TN

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                                  7316 Eggleston, Memphis, TN
                                  6088 Elk Grove, Memphis, TN
                                  6283 Farm Hill Drive, Memphis, TN
                                  5347 Farm Ridge, Memphis, TN
                                  5353 Farm Ridge, Memphis, TN
                                  5372 Farm Ridge, Memphis, TN
                                  3790 Fern Creek, Memphis, TN
                                  3307 Frayser View Drive, Memphis, TN
                                  3181 Freeman Cove, Bartlett, TN
                                  4790 Harvest Park Drive, Memphis, TN
                                  4801 Harvest Park, Memphis, TN
                                  4873 Harvest Park, Memphis, TN
                                  8941 Hickory Trail, Memphis, TN
                                  52576 Jordan Drive, Memphis, TN
                                  4211 Landsdowne Drive, Memphis, TN
                                  3881 Long Creek Road, Memphis, TN
                                  4017 Long Creek Road, Memphis, TN
                                  1023 Lydegate, Memphis, TN
                                  3522 Madewell Drive, Memphis, TN
                                  5300 Marissa Cove, Memphis, TN
                                  7952 Meadow Vale Drive, Memphis, TN
                                  3570 Monessen, Memphis, TN
                                  2391 Morning Vista Drive, Memphis, TN
                                  6900 North Knoll, Memphis TN
                                  3830 Old Germantown, Memphis, TN
                                  2092 Oliver, Memphis, TN
                                  5996 Parktree, Memphis, TN
                                  1337 Perkins. S. Memphis, TN
                                  3923 Powder Mill Road, Memphis, TN
                                  4456 Quince, Memphis, TN 38117
                                  1651 Red Barn, Cordova, TN
                                  4267 Renners, Memphis, TN
                                  2359 Ridgeway, Memphis, TN
                                  5524 Riverdale Road, Memphis, TN
                                  1309 Rosecliff, Memphis, TN
                                  5979 Seminary Drive, Memphis, TN
                                  7003 Shadow Oaks, Memphis, TN
                                  6651 Shaker Lane, Memphis, TN
                                  6781 Shoreline, Memphis, TN
                                  2909 Signal, Memphis, TN
                                  2627 Sleepy Bend Cove, Memphis, TN
                                  3098 Teaberry Lane, Bartlett, TN
                                  4592 Tracy Lynn Drive, Memphis, TN
                                  7317 Tranquil Creek, Memphis, TN
                                  6534 Valley Oak Drive, Memphis, TN
                                  4651 Vescovi Lane, Memphis, TN
                                  1021 White Station, Memphis, TN
                                  3905 Wildleaf Drive, Memphis, TN
                                  1581 Wilson, Memphis, TN
                                  5063 Winberry, Arlington, TN
                                  5101 Winberry, Arlington, TN

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                                         7218 Woodshire, Memphis, TN

                                         Tipton County:
                                         511 Burkhart Road, Drummond, TN
                                         99 Sassafras Circle, Mumford, TN

                                         DeSoto County:
                                         5619 Blocker, Olive Branch, MS
                                         5643 Blocker, Olive Branch, MS
                                          6910 Branch, Olive Branch, MS
                                         9922 Maury Cove, Olive Branch, MS
                                         10575 Riggan Drive, Olive Branch, MS

                                         3188 Bell Tower


       Pursuant to prior orders of the Court entered on April 22, 2011, the automatic stay was

lifted to permit First Tennessee Bank to foreclose on the above referenced properties, which are

deemed abandoned from the bankruptcy estate. Subsequent to entry of the order, First Tennessee

Bank assigned its loans secured by the foregoing properties, exclusive of 4812 Mendenhall

Road, South, Memphis, Tennessee to RJ Holdings, GP. The Chapter 11 Trustee entered into an

agreement to allow transfer the foregoing properties to RJ Holdings in lieu of foreclosure and in

satisfaction of the debt owed against these properties, except as to 5524 Riverdale Road,

Memphis, Tennessee, 7316 Eggleston, 6900 N. Knoll, and 1021 White Station which properties

were retained by the estate with their respective mortgage loan balances. The claims of RJ

Holdings with respect to 7316 Eggleston, 6900 N. Knoll and 1021 White Station have been

satisfied in full through sale of the property and/or in the ordinary course of business. The claim

of RJ Holdings, as assignee of Regions, shall be allowed as a fully secured claim secured by

property abandoned from the estate and shall not be entitled to any further distribution from the

estate, except as with respect to 5524 Riverdale Road, Memphis, Tennessee. The current loan

with respect to 5524 Riverdale Road shall be modified to extend the maturity date of the current




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promissory note and deed of trust by 60 months. All other terms of the promissory note and deed

of trust shall remain the same.

       Class 24 is impaired.

       Class 25:       Prepetition Secured Claim of Security Bank and Trust Co.

(“Security Bank”). Consists of the unpaid prepetition balance due to Security Bank which is

secured by a duly perfected first priority deed of trust on approximately 103 acres of land in

Weakley County, Tennessee. The foregoing property has been sold pursuant to Court order and

the claim of Security Bank relating to such property has been satisfied in full. The claim of

Security Bank on the above property shall be deemed to be fully secured and satisfied from the

sale of the property. No further distribution shall be made under the Plan on account of loans

relating to the foregoing property.

       Class 25 is unimpaired.

       Class 26:       Prepetition Secured Claim of Rushmore Loan Management Services,

LLC as Assignee of Wells Fargo, N.A., MTGLO and BAC Home Loan (“Rushmore”)

Consists of the unpaid balance due to Rushmore which is secured by a duly perfected first

priority deed of trust on the real property listed as follows:

         Claim No.     Claim Amount                              Property Address

         87-1          $96,905.54          5331 Farmridge Drive, Memphis, TN
                        
         41            $49,617.88          4445 Cleopatra, Memphis, TN 38128
         42            $45,553.65          5934 Whisper Valley, Memphis, TN 38141
         58            $57,316.91          4695 Lindawood, Memphis, TN
         63            $44,271.28          1001 Bonnie, Memphis, TN 38122


       The foregoing claims shall be modified on the Effective Date and the outstanding loan

balances shall be restructured and paid as follows:


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       1.      The claims shall be deemed to be fully secured without respect to the value of the

underlying collateral.

       2.      The interest rate shall be modified to 4.0%.

       3.      The principal loan balances of the loan on Claim 87-1, as of the Effective Date of

the plan, will be extended and reamortized over a 25-year period; and the term of the principal

loan balance on Claim 184-1 shall remain on its amortization term.

       4.      All other terms of the subject loan shall remain unchanged.

       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance(s), including any late charges, legal fees, arrearages or other charges asserted by

claimant. The loan balance(s) shown on the itemized statement shall be deemed to be the

outstanding loan balance(s) owed to claimant for purposes of the Plan, unless disputed by the

Chapter 11 Trustee below. Upon motion filed by a party prior to the Effective Date, the Court

may extend the time for filing the itemized statement upon good cause shown. In the event such

time is extended, the Chapter 11 Trustee shall commence monthly payments arising after the

Effective Date based on the outstanding balance(s) shown on the last invoice or statement

received from the claimant prior to the Effective Date. In the event a subsequently produced

itemized statement results in a different amortized payment, the plan payments shall be adjusted

to comply with the plan.

       6.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance(s) prior to the Effective Date, or such other deadline set by the Court, the

outstanding balance(s) shown on the last invoice or statement received from the claimant prior to




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the Effective Date shall be deemed to be the outstanding loan balance(s) owed to claimant for

purposes of the Plan.

        7.       The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance(s) to file a motion with the court to dispute

the loan balance(s) asserted by claimant. Pending resolution of the dispute, the Chapter 11

Trustee shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the

mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimant.

        Class 26 is impaired.

        Class 27:        Prepetition Secured Claim of Select Portfolio as Servicer for Long Beach

Mortgage Loan Trust 2005-1. Consists of the unpaid balances due to Select Portfolio which are secured

by duly perfected first priority deeds of trust on the real property listed as follows:

         Claim No.       Claim Amount          Property Address
         67              $118,387.19           7460 Midnight Cove, Memphis, TN 38125
         68              $60,309.42            5325 Albermarle Drive, Memphis, TN 38135
         69              $105,929.98           4746 Harvest Park Drive, Memphis, TN 38125
         70              $98,510.52            7605 Fox Bridge Cove, Memphis, TN 38125
         71              $83,476.03            4390 Angarath Drive, Memphis, TN
         72              $126,497.69           8072 Abington Woods Ave., Arlington, TN
         73              $68,187.52            4940 Battle Forest Cove, Memphis, TN
         74              $121,956.77           7670 Callaway Hills Cove, Memphis, TN
         75              $87,790.90            4437 Cleopatra Drive, Memphis, TN
         76              $74,472.10            6323 Hayfield Lane, Memphis, TN
         77              $60,777.80            5961 Port Harbor Drive, Millington, TN
         78              $60,777.80            4677 Lindawood Lane, Memphis, TN
         79              $146,647.40           5060 Ashland Grove Street, Arlington, TN
         80              $66,030.40            4313 Cleopatra Cove South, Memphis, TN
         81              $98,811.80            4017 Shinault Lane, Memphis, TN
         82              $58,386.52            3697 White Birch Drive, Memphis, TN
         83              $77,285.80            3816 Sungrove Circle E, Memphis, TN



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       The foregoing claims shall be modified on the Effective Date and the outstanding loan

balances shall be restructured and paid as follows:

       1.      The claims shall be deemed to be fully secured without respect to the value of the

underlying collateral.

       2.      The interest rate shall be modified to 4.0%.

       3.      The principal loan balances of each loan, as of the Effective Date of the plan, will

be extended and reamortized over a 25-year period.

       4.      All other terms of the subject loan shall remain unchanged

       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance(s), including any late charges, legal fees, arrearages or other charges asserted by

claimant. The loan balance(s) shown on the itemized statement shall be deemed to be the

outstanding loan balance(s) owed to claimant for purposes of the Plan, unless disputed by the

Chapter 11 Trustee below. Upon motion filed by a party prior to the Effective Date, the Court

may extend the time for filing the itemized statement upon good cause shown. In the event such

time is extended, the Chapter 11 Trustee shall commence monthly payments arising after the

Effective Date based on the outstanding balance(s) shown on the last invoice or statement

received from the claimant prior to the Effective Date. In the event a subsequently produced

itemized statement results in a different amortized payment, the plan payments shall be adjusted

to comply with the plan.

       6.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance(s) prior to the Effective Date, or such other deadline set by the Court, the

outstanding balance(s) shown on the last invoice or statement received from the claimant prior to



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the Effective Date shall be deemed to be the outstanding loan balance(s) owed to claimant for

purposes of the Plan.

        7.       The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance(s) to file a motion with the court to dispute

the loan balance(s) asserted by claimant. Pending resolution of the dispute, the Chapter 11

Trustee shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the

mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimant.

        Claim 27 is impaired.

        Class 28:       Prepetition Secured Claim of Wells Fargo Bank, N.A. (“Wells Fargo

Bank”). Consists of the unpaid balances due to Wells Fargo Bank which are secured by a duly

perfected first priority deeds of trust on the real property listed as follows:

         Claim No.      Claim Amount                             Property Address

         35-1           $30,732.48          3769 Deer Forest Drive, Memphis, TN
         36-1           $37,567.18          7139 Tulip Trail Drive, Memphis, TN
         37-1           $33,827.03          7272 Eggleston Road, Memphis, TN
         62-1           $34,274.76          7272 Eggleston Road, Memphis, TN
         65-1           $34,102.09          4769 Stoney Hill Drive, Memphis, TN
         66-1           $30,069.70          1167 Greenview Road, Collierville, TN
         85-1           $41,565.10          6606 Mistletoe Cove, Memphis, TN
         105-1          $38,277.35          4931 Gadwall Drive, West, Memphis, TN
         133-1          $44,668.56          5277 Lilly Woods Cove, Memphis, TN
         139-1          $32,832.27          3065 Pine Allee Cove, Memphis, TN
         140-1          $11,887.78          6088 Elk Grove, Memphis, TN
         141-1          $18,939.16          3617 Voltaire Avenue, Memphis, TN
         142-1          $19,362.43          3924 Pikes Peak, Memphis, TN
         143-1          $30,952.53          5764 French Market Circle North, Memphis, TN
         144-1          $27,205.35          2185 Longlane Drive, Memphis, TN
         145-1          $22,310.49          4335 Owen Road, Memphis, TN
         146-1          $30,268.24          7351 Isherwood Road, Memphis, TN


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         147-1         $21,785.02           4052 Rhodes Avenue, Memphis, TN
         148-2         $29,579.32           4483 Helene Road, Memphis, TN
         151-1         $21,785.02           4052 Rhodes, Memphis, TN
         168-1         $21,427.64           3216 Chisca Avenue, Memphis, TN
         170-1         $32,316.45           7315 Newling Lane, Memphis, TN
         185-1         $29,589.08           6551 Oak Park Drive, Memphis, TN
         186-1         $39,771.13           703 Walnut Woods Cove South, Memphis, TN
         187-1         $31,3844.90          4029 Longneck Avenue, Memphis, TN
         188-1         $29,589.08           6551 Oak Park Drive, Memphis, TN
         189-1         $31,384.90           4029 Longneck Avenue, Memphis, TN
         190-1         $39,771.13           703 Walnut Woods Cove, Memphis, TN
         195-1         $41,166.82           6594 Pine Top Circle North, Memphis, TN
         198-1         $31,775.15           7389 Doncaster Lane, Memphis, TN
         202-1         $36,027.71           6131 Valleydale Drive, Memphis, TN
                                            7280 Eggleston, Memphis, TN


       All of the foregoing properties were sold by the Trustee pursuant to court orders and the

mortgages claims satisfied, with the exception of the property located at 4052 Rhodes. Wells

Fargo shall have an allowed secured claim in the amount of $21,785.02. Upon the Effective

Date, the Chapter 7 Trustee shall convey the property located 4052 Rhodes to Wells Fargo in

satisfaction of its secured claim.

       Class 28 is impaired.

       Class 29:       Prepetition Secured Claim of Selene Finance LP, Servicer for

Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, as Trustee for BCAT 2015-

13BTT, as Assignee of Wells Fargo Bank, N.A. Consists of the unpaid balance due to Selene

Finance, L.P. which is secured by a duly perfected first priority deeds of trust on the real

property listed as follows:

         Claim No.     Claim Amount                           Property Address

         136-1         $99,613.55           4015 Autumn Springs, Memphis, TN




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       The foregoing claim shall be modified on the Effective Date and the outstanding loan

balances shall be restructured and paid as follows:

       1.      The claims shall be deemed to be fully secured without respect to the value of the

underlying collateral.

       2.      The interest rate shall be modified to 4.0%.

       3.      The principal loan balances of each loan, as of the Effective Date of the plan, will

be extended and reamortized over a 25-year period.

       4.      All other terms of the subject loan shall remain unchanged.

       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance, including any late charges, legal fees, arrearages or other charges asserted by claimant.

The loan balance shown on the itemized statement shall be deemed to be the outstanding loan

balance owed to claimant for purposes of the Plan, unless disputed by the Chapter 11 Trustee

below. Upon motion filed by a party prior to the Effective Date, the Court may extend the time

for filing the itemized statement upon good cause shown. In the event such time is extended, the

Chapter 11 Trustee shall commence monthly payments arising after the Effective Date based on

the outstanding balance(s) shown on the last invoice or statement received from the claimant

prior to the Effective Date. In the event a subsequently produced itemized statement results in a

different amortized payment, the plan payments shall be adjusted to comply with the plan.

       6.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance prior to the Effective Date, or such other deadline set by the Court, the outstanding

balance shown on the last invoice or statement received from the claimant prior to the Effective




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Date shall be deemed to be the outstanding loan balance owed to claimant for purposes of the

Plan.

        7.     The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance to file a motion with the court to dispute the

loan balance asserted by claimant. Pending resolution of the dispute, the Chapter 11 Trustee

shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the

mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimant.

        Class 29 is impaired.

        Class 30:      Prepetition Secured Claim of Shellpoint Mortgage Servicing, Servicer

for JP Morgan Chase and CMS Home Loans Servicing as Agent for Bank of America.

Consists of the unpaid balance due to Shellpoint Mortgage Servicing as agent for JP Morgan

Chase and CMS Home Loans Servicing as Agent for Bank of America, . which is secured by a

duly perfected first priority deeds of trust on the real property listed as follows:

         Claim No.     Claim Amount                             Property Address

         39            $56,889.40          6537 Imperial Oaks Cv., Memphis, TN 38115
         40            $54,537.26          4631 Paula, Memphis, TN 38116
         42            $45,553.65          5934 Whisper Valley, Memphis, TN 38141 
         43            $67,470.61          4135 GlenRoy, Memphis, TN 38125 
         46            $51,970.13          4454 Hancock, Memphis, TN 38116 
         60            $46,196.00          4411 Crescent Park, Memphis, TN 38141 
         88            $50,472.82          4324 Duncan Road, Millington, TN
         184           $36,235.56           5049 Simsbury, Memphis, TN


        The foregoing claim shall be modified on the Effective Date and the outstanding loan

balances shall be restructured and paid as follows:


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       1.      The claims shall be deemed to be fully secured without respect to the value of the

underlying collateral;

       2.      The interest rate shall be modified to 4.5%.

       3.      The principal loan balances of each loan, as of the Effective Date of the plan, will

be extended and reamortized over a 25-year period except as to 5049 Simsbury.

       4.      The principal loan balance as to 5049 Simsbury shall be paid in accordance with

the current amortization schedule provided in the loan documents with any pre-petition or post-

petition arrearages to be due and payable at maturity.

       5.      All other terms of the subject loan shall remain unchanged.

       6.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance(s), including any late charges, legal fees, arrearages or other charges asserted by

claimant. The loan balance(s) shown on the itemized statement shall be deemed to be the

outstanding loan balance(s) owed to claimant for purposes of the Plan, unless disputed by the

Chapter 11 Trustee below. Upon motion filed by a party prior to the Effective Date, the Court

may extend the time for filing the itemized statement upon good cause shown. In the event such

time is extended, the Chapter 11 Trustee shall commence monthly payments arising after the

Effective Date based on the outstanding balance(s) shown on the last invoice or statement

received from the claimant prior to the Effective Date. In the event a subsequently produced

itemized statement results in a different amortized payment, the plan payments shall be adjusted

to comply with the plan.

       7.      In the event claimant fails to provide an itemized statement of the outstanding

loan balance(s) prior to the Effective Date, or such other deadline set by the Court, the



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outstanding balance(s) shown on the last invoice or statement received from the claimant prior to

the Effective Date shall be deemed to be the outstanding loan balance(s) owed to claimant for

purposes of the Plan.

       8.       The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance(s) to file a motion with the court to dispute

the loan balance(s) asserted by claimant. Pending resolution of the dispute, the Chapter 11

Trustee shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement. In the event the Chapter 11 Trustee is determined to have overpaid the

mortgage balance based on claimant’s disputed itemized statement, the Chapter 11 Trustee may

deduct the overpayment from future payments owed to claimant.

       Class 30 is impaired.

       Class 31:        Prepetition Secured Claim of Taxing Authorities. Consists of the

Claims of the Shelby County Trustee and the City of Memphis. Consists of the following

prepetition and post-petition claims filed by the City of Memphis and the Shelby County Trustee:

        Claim No.       Claim Amount                                  Claimant

        4-5             $110,131.01        City of Memphis
        191-2           $59,863.66         City of Memphis
        18-1            $624,851.12        Shelby County Trustee
        191-2           $845,839.46        Shelby County Trustee


       The foregoing claims have been paid in full pursuant to court orders or in the normal

course of the estate’s post-petition operations. The claims have been voluntarily withdrawn and

are not entitled to further distribution on account of such claims.

       Class 31 is unimpaired.




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       Class 32:        Prepetition Secured Claim of Ford Motor Credit Company. Consists

of the claim of Ford Motor Credit secured by a lien on a 2007 Ford Explorer vehicle.

           Claim No.    Claim Amount                               Property

           7-1          $9,817.88           2007 Ford Explorer


       The prepetition claim of Ford Motor Credit has been paid in full during the course of the

case. Pursuant to court order, the claim of Ford Motor Credit is not entitled to further distribution

from the estate.

       Class 32 is unimpaired.

       Class 33:        Prepetition Secured Claim of Toyota Motor Credit Corporation.

Consists of the claim of Toyota Motor Credit secured by a lien on a 2005 Toyota Scion motor

vehicle.

           Claim No.    Claim Amount                               Property

           31-2         $736.47             2005 Toyota Scion


       Pursuant to order of the Court, the claim of Toyota Motor Credit Corporation shall be

allowed as a secured claim in the amount of $374.23.

       Class 33 is unimpaired.

       Class 34:        Secured Claim of M&T Bank (“M&T”), as Assignee of Chase Home

Finance. Consists of the unpaid balance due to M&T, as assignee of Chase Home Finance,

which is secured by a duly perfected first priority deed of trust on the real property listed as

follows:

           Claim No.    Claim Amount                               Property

           64           $61,167.23          7477 Logan Crest, Memphis, TN 38119



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       The foregoing claim shall be modified on the Effective Date and the outstanding loan

balance shall be restructured and paid as follows:

       1.      The claim shall be deemed to be fully secured without respect to the value of the

underlying collateral;

       2.      The interest rate shall be modified to 4.0%;

       3.      The principal loan balances of each loan, as of the Effective Date of the plan, will

be extended and reamortized over a 25-year period; and

       4.      All other terms of the subject loan shall remain unchanged.

       5.      Between entry of the order confirming the Plan and the Effective Date, the

claimant shall provide to the Chapter 11 Trustee an itemized statement of the outstanding loan

balance(s), including any late charges, legal fees, arrearages or other charges asserted by

claimant. The loan balance(s) shown on the itemized statement shall be deemed to be the

outstanding loan balance(s) owed to claimant for purposes of the Plan, unless disputed by the

Chapter 11 Trustee below.

       6.      In the event claimant fails to provide the itemized statement of the outstanding

loan balance(s) prior to the Effective Date, the outstanding balance(s) shown on the last invoice

or statement received from the claimant prior to the Effective Date shall be deemed to be the

outstanding loan balance(s) owed to claimant for purposes of the Plan.

       7.      The Chapter 11 Trustee shall have thirty (30) days from receipt of claimant’s

itemized statement of the outstanding loan balance(s) to file a motion with the court to dispute

the loan balance(s) asserted by claimant. Pending resolution of the dispute, the Chapter 11

Trustee shall make Plan payments based upon the balance(s) reflected on the claimant’s disputed

itemized statement.



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            Class 34 is impaired.

       Class 35:      Unsecured Claims of Creditors Not Entitled to Priority Under the

Code. Allowed Unsecured Non-priority Claims are not secured by property of the estate and are

not entitled to priority under § 507(a) of the Code. The estimated percent to be paid to holders of

allowed unsecured non-priority claims is 100%. Unsecured claims will be paid an interim

distribution in the aggregate amount of not less than $1,500,000 within 180 days after the

Effective Date. The Chapter 11 Trustee shall make a second distribution to allowed unsecured

claims not later than 12 months after the Effective Date based on the amount of cash available in

the estate after reserving for prepetition and post-petition administrative claim, post-petition

taxes and working capital. The balance, if any, of allowed Class 35 claims remaining after the

second distribution shall receive prorata quarterly distributions from the Debtors’ net disposable

income commencing on the first day of the first full calendar quarter immediately following the

Second Distribution until such claims are paid in full The total allowed unsecured claims are

estimated to be approximately $2, 433,994.61.

       Class 35 is impaired.

       Class 36:      Interests of the Debtors. Consists of the interests of the Debtors in all

property of the estate. All property of the Debtors’ bankruptcy estate pursuant to 11 U.S.C. §§

541 and 1115 shall not vest in the Debtors upon confirmation pursuant to 11 U.S.C. § 1141(b).

It shall remain property of the Debtors’ Chapter 11 bankruptcy estate and shall be further

administered by the Trustee as provided in and as necessary to effectuate the plan of

reorganization. The Trustee shall remain in possession of the estate. The property of the

bankruptcy estate shall only re-vest in the reorganized Debtors’ upon the earlier of (i) all Class

35 general unsecured non-priority claims are paid in full and the Chapter 11 Trustee has been



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terminated and relieved of further obligation by order of the Court or (ii) once the estate has been

fully administered, as provided in Rule 3022 of the Federal Rules of Bankruptcy Procedure, and

a final decree closing the case is entered by this Court upon motion of the Trustee, or such other

party as the Court shall designate in the Plan confirmation order. Upon revesting, property of the

estate shall vest in the Debtors in accordance with the terms of their final decree of divorce.

The Final Decree of Divorce between the Debtors provides that (a) all real property owned by

the Reorganized Debtors (whether titled jointly or separately) shall be conveyed to Affordable

Management, LLC, with the exception of the residence located at 5525 Riverdale Road,

Memphis, Tennessee, 38141, which will be titled solely in the name of Aubrey Bruce Wring and

the home at 5323 Smith Grove Road, Holly Springs, Mississippi 38635, which will be titled

solely in the name of Virginia Ann Wring, (b) the Reorganized Debtors’ interests in Affordable

Land Sales, LLC, Affordable Management, LLC, Wring Family Trust, Wring Family Revocable

Trust, Wring Real Estate, LLC shall vest in Virginia Ann Wring, (c) all vehicles titled in

Virginia Ann Wring’s name and the contents of the 5323 Smith Grove residence shall vest in

Ms. Wring, (d) Mr. Wring’s interest in the Wring Family Trust and Wring Family Revocable

Trust shall vest in Mrs. Wring and Mr. Wring shall have no rights as either Grantor or Trustee of

said trusts and (e) Mr. Wring shall have all vehicles titled in his name, and the contents of the

residence at 5525 Riverdale. The provisions of the Final Decree of Divorce are subject and

without prejudice to the right of the Chapter 11 Trustee to liquidate any non-exempt property of

the estate prior to revestment in the Reorganized Debtors.

       Upon revestment of property of the estate in Ms. Wring, the business and assets which

revest in Ms. Wring shall be managed by Affordable Management, LLC or such other

management company as she may elect.



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                                             ARTICLE V

                                   IMPLEMENTATION OF PLAN

       5.01    Means for Implementation of Plan. The Plan shall be implemented through the

operation of the Debtors’ business and the liquidation of assets.     The Trustee has previously

liquidated various properties owned by the estate pursuant to Court orders. The Trustee, in the

exercise of his business judgment, intends to continue operating any remaining rental properties

which are not sold and which is producing net business revenue, after management fees and

allowed reasonable and necessary living expenses of the Debtors, to the Debtors’ estate. The

Trustee shall retain the right to sell and liquidate any property of the estate in his business

judgement in order to satisfy the payments to creditors under the Plan.

       5.02    Post-Confirmation Management of the Reorganized Debtors

       The Chapter 11 Trustee shall continue to oversee the management of the Reorganized

Debtors’ business and property of the estate until such time as the Chapter 11 trustee has been

terminated pursuant to the terms of the Plan. The Chapter 11 Trustee shall utilize the services of

Affordable Management, LLC as property manager, provided, however, that the Chapter 11

Trustee shall retain the authority to change management companies in his business judgement.

       Upon termination of the Chapter 11 Trustee’s services, property of the estate shall revest

in the Reorganized Debtors pursuant to 11 U.S.C. § 1141. The Final Decree of Divorce between

the Debtors provides that (a) all real property owned by the Reorganized Debtors (whether titled

jointly or separately) shall be conveyed to Affordable Management, LLC, with the exception of

the residence located at 5525 Riverdale Road, Memphis, Tennessee, 38141, which will be titled

solely in the name of Aubrey Bruce Wring and the home at 5323 Smith Grove Road, Holly

Springs, Mississippi 38635, which will be titled solely in the name of Virginia Ann Wring, (b)



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the Reorganized Debtors’ interests in Affordable Land Sales, LLC, Affordable Management,

LLC, Wring Family Trust, Wring Family Revocable Trust, Wring Real Estate, LLC shall vest in

Virginia Ann Wring, (c) all vehicles titled in Virginia Ann Wring’s name and the contents of the

5323 Smith Grove residence shall vest in Ms. Wring, (d) Mr. Wring’s interest in the Wring

Family Trust and Wring Family Revocable Trust shall vest in Mrs. Wring and Mr. Wring shall

have no rights as either Grantor or Trustee of said trusts and (e) Mr. Wring shall have all vehicles

titled in his name, and the contents of the residence at 5525 Riverdale. The provisions of the

Final Decree of Divorce are subject and without prejudice to liquidate any non-exempt property

of the estate prior to revestment in the Reorganized Debtors.

       Upon revestment of property of the estate in Ms. Wring, the business and assets which

revest in Ms. Wring shall be managed by Affordable Management, LLC or such other

management company as she may elect.

       5.03    Source of Payments: Payments and distributions under the Plan will be funded

by the following:

               (a)     Distribution of cash on hand as of the Effective Date;

               (b)     Distribution of the proceeds of the sale of the real property; and

               (c)     Collection and liquidation of any other assets which may be discovered.

Attached as Exhibit 1 to this Plan is a pro forma reflecting the Debtors’ projected disposable

income over a five year period based on continued operation of the remaining rental properties.


       5.04    Consummation.        For    all   purposes,    Consummation       (and       substantial

consummation of this Plan) shall occur upon the instant upon which the first distributions of

cash or property have been made to any class of Creditors under this Plan following the Effective

Date, at which time this Plan shall be deemed fully consummated.


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       5.05    Pre-Discharge Injunction. Following Consummation, the Chapter 11 Trustee

or, if property of the estate has re-vested in the Debtors, the Debtors may, in their discretion,

seek to Administratively Close the Case pending completion of the Debtors’ Plan payments

and discharge. In the event the automatic stay is deemed lifted by reason of an Order

Administratively Closing the Case, all prepetition creditors shall be enjoined from taking steps

to enforce any prepetition claims against the Debtors or property of the estate to the same

extent that such creditors would have been stayed under 11 U.S.C. § 362, unless such creditor

first seeks to reopen the Case and obtains leave of Court to pursue such enforcement actions.

The Chapter 11 Trustee or, if applicable, the Debtors shall be entitled to recover their

reasonable attorneys’ fees and costs incurred in enforcing such injunction and any monetary

damages incurred as a result of such violation.

       5.06    Post-Confirmation Payment of Professionals           Following     entry   of   the

Confirmation Order, the Chapter 11 Trustee or, if property of the estate has re-vested in the

Debtors, the Reorganized Debtors shall be authorized to employ and compensate professionals

without seeking court approval of such employment or payment of such fees for service

rendered following entry of the Confirmation Order.

       5.07    Preservation of Claims and Causes of Action. In accordance with 11 U.S.C. §

1123, the Trustee (and the Reorganized Debtors upon termination of the Trustee ) shall retain

and may (but shall not be required to) enforce all claims and causes of action which are property

of the estate against any party. The Trustee or the Reorganized Debtor (if applicable), in its sole

and absolute discretion, will determine whether to bring, settle, release, compromise, or enforce

such claims or causes of action (or decline to do any of the foregoing), and will not be required

to seek further approval of the Bankruptcy Court for such action. The Trustee or, if applicable,



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the Reorganized Debtors or any successors may pursue such litigation claims in accordance with

the best interest of the estate, or upon revesting of the estate in the Reorganized Debtors, the

Reorganized Debtors.

                                             ARTICLE VI

         TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

      6.01     Warranty Agreements and Licenses. To the extent necessary, the Debtors shall

assume all insurance policies and extended warranty policies in effect as of the Petition Date.

       6.02    Lease Agreements and Lease Purchase Agreements At the time of the filing of

the Case, the Debtors, through Affordable Management, LLC, were lessors to various residential

leases and residential lease purchase agreements (collectively, the “Lease Agreements”). During

the course of the Case, various Lease Agreements have (i) terminated by their own terms, or (ii)

terminated as a result of tenant defaults or as a result of the sale of the property to the tenant or

(iii) been previously assumed and assigned to third parties as a result of the sale of the property

subject to the Lease Agreement.        Upon the Effective Date, the Debtors shall assume all

remaining prepetition and post-petition Lease Agreements.

       6.03    Additional Contracts. All contracts which exist between the Debtors and any

individual or entity, whether such contracts are written or oral, which have not heretofore been

assumed or rejected or heretofore been approved by Orders of the Court are hereby specifically

rejected; provided, however, that this provision is not intended to reject nor shall it be deemed to

reject any agreement for the renewal or extension of any loan of funds, presently binding and in

effect as between the Debtors and any secured creditor nor shall it be deemed to effect a rejection

of (i) any governmental contract to provide health care services; or (ii) any contract with any

governmental or nongovernmental insurance provider.

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                                       ARTICLE VII

   PROVISIONS REGARDING DISTRIBUTIONS AND OBJECTIONS TO CLAIMS

       7.01.   Disputed Claims: A disputed claim is a claim that has not been allowed or

disallowed by a final non-appealable order, and as to which either: (i) a proof of claim has been

filed or deemed filed, and the Chapter 11 Trustee or another party in interest has filed an

objection; or (ii) no proof of claim has been filed, and the Debtors have scheduled such claim as

disputed, contingent, or unliquidated. The Chapter 11 Trustee reserves the right to object to any

claim filed or deemed to be filed in this case at any time.

       7.02    Delay of Distribution on Disputed Claims. No distribution will be made on

account of a disputed claim unless such claim is allowed by a final non-appealable order.

       7.03     Settlement of Disputed Claims. The Chapter 11 Trustee will have the power

and authority to settle and compromise a disputed claim with court approval and compliance

with Rule 9019 of the Federal Rules of Bankruptcy Procedure.

                                          ARTICLE VIII

                               MISCELLANEOUS PROVISIONS

       8.01    Cramdown. The Trustee, as the proponent of this Plan of Reorganization, hereby

requests the Court to find that the provisions of this Plan provide fair and equitable treatment

with respect to any class that is impaired under this Plan and has indicated that it will not accept

this Plan, and that this Court confirm the Plan notwithstanding the requirements of 11 U.S.C. §

1129(a)(8) as to such class.

       8.02    Modification of Plan. The Chapter 11 Trustee reserves the right to modify or

amend this Plan prior to confirmation pursuant to 11 U.S.C. § 1127(a). Further, the Chapter 11




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Trustee reserves the right to seek modification of the Plan after confirmation in accordance with

the provisions of 11 U.S.C. § 1127(e).

          8.03    Severability. If any provision in this Plan is determined to be unenforceable, the

determination will in no way limit or affect the enforceability and operative effect of any other

provision of this Plan.

          8.04    Binding Effect. The rights and obligations of any entity named or referred to in

this Plan will be binding upon, and will inure to the benefit of the successors or assigns of such

entity.

          8.05    Captions. The headings contained in this Plan are for convenience of reference

only and do not affect the meaning or interpretation of this Plan.

          8.06.   Controlling Effect. Unless a rule of law or procedure is supplied by federal law

(including the Code or the Federal Rules of Bankruptcy Procedure), the laws of the State of

Tennessee govern this Plan and any agreements, documents, and instruments executed in

connection with this Plan, except as otherwise provided in this Plan.

          8.07.   Effective Date of Plan. The Effective Date of this Plan is the first business day

following thirty (30) business days following the date of the entry of the order of confirmation.

But if a stay of the confirmation order is in effect on that date, the Effective Date will be the first

business day after that date on which no stay of the confirmation order is in effect, provided that

the confirmation order has not been vacated.

          8.08    Discharge: Confirmation of this Plan does not discharge any debt provided for in

this Plan until the court grants a discharge on completion of all payments to Class 35 creditors

under this Plan unless the Court, for cause, orders a discharge sooner or as otherwise provided in

11 U.S.C. § 1141(d)(5).



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                                         ARTICLE IX

                             RETENTION OF JURISDICTION

      9.0      The Bankruptcy Court shall retain exclusive jurisdiction over this Chapter 11

Case after Confirmation, notwithstanding Consummation or substantial consummation, for the

following purposes:

                (a)    to consider and effect any modification of this Plan under Section 1127
of the Bankruptcy Code and to modify the plan to remedy any apparent defect or omission in
this Plan or to reconcile any inconsistency in the Plan so as to carry out its intent and purpose;

              (b)    to hear and determine all controversies, suits and disputes that arise in
connection with the interpretation, implementation, effectuation, consummation or enforcement
of this Plan;

             (c)   to hear and determine all requests for compensation and/or
reimbursement of expenses for the period commencing on the Petition Date through the
Confirmation Date;

               (d)    to hear and determine all objections to Claims and Interests, and to
determine the appropriate classification of any Claim or Interest, and other controversies, suits
and disputes that may be pending at or initiated after the Confirmation Date, except as
provided in the Confirmation Order;

               (e)     to hear and determine all Claims and Causes of Action;

             (f)     to consider and act on such other matters consistent with this Plan as
maybe provided in the Confirmation Order;

             (g)     to make such orders as are necessary and appropriate to carry out and
implement the provisions of this Plan; including to effect the further assurances provided in this
Plan;

              (h)    to approve the reasonableness of any payments made or to be made,
within the meaning of Section 1129(a)(4) of the Bankruptcy Code;

                 (i)     to exercise the jurisdiction granted pursuant to Section 505(a) and (b) of
the Bankruptcy Code to determine any and all federal, state, Commonwealth, local and foreign
tax liabilities of, and any and all refunds of such taxes paid by the Debtors;

               (j)     to hear and determine any issues or matters in connection with any
property not timely claimed as provided in this Plan;


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               (k)    to enforce or lift the pre-discharge injunction in the event the Case is
administratively closed pending discharge, and

              (l)    to determine any and all motions, applications, adversary proceedings
and contested matters whether pending in the Case as of the Effective Date or brought
subsequently by the Trustee or the Reorganized Debtors prior to entry of a Final Decree.


      Nothing contained in this Article shall be construed so as to limit the rights of the Chapter

11 Trustee to commence or prosecute any claim in any court of competent jurisdiction.

                                     Respectfully submitted:


                                     /s/ Michael P. Coury
                                     CHAPTER 11 TRUSTEE

                                     GLANKLER BROWN, PLLC

                                     /s/ Michael P. Coury
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                                      CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a true and correct copy of the foregoing was served

on the parties receiving notice through the Court’s CM/ECF Noticing System on December 9,

2016 and that a true and correct copy will be served on all other creditors and interested parties

via first class U.S. Mail, postage prepaid.


                                                             /s/ Michael P. Coury

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